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UNI'I"ED .STATE'S DISTRIC'I` C'OURT
DISTRICT OF CULUMBIA

SECURITIES AND EXCHANGE COMMISSION, Civil Action No.
_ l00 F Street, N.E. Washington, D.C. 20549

Plaimiff, ' CoMPLAINT-

vs.
ECF CASE

DELL INC., MICHAEL S. DELL, KEVIN B.
ROLLINS, JAMES M. SCHNEIDER, LESLIE L.
JACKSON, NICHOLAS A. R. DUNNING

Defendants.

 

 

Plaintiff Securities and Exchange Commission (the “Commission” or “SEC”)
alleges as follows:
SUMMARY

»l. The SEC brings this action for various disclosure and accounting violations
involving Dell Inc. (“Dell”) from 2001 to 2006. Dell’s disclosure violations,»Which relate
primarily to Dell’s receipt of large payments from Intel Corporation (“lntel”), fraudulently
misrepresented the basis for Dell’s improving profitability Dell’s separate fraudulent and
improper accounting during this time period Wrongfully made it appear that Dell Was consistently
meeting Wall Street earnings targets and reducing its operating expenses through the company’s
management and operations Dell’s Intel-related disclosure violations involved the conduct of
senior executives, including Michael Dell, Chairman and7 at various times, Chief Executive
Officer (“CEO”); Dell’s former CE() Kevin Rollins (“Rollins”); and Dell’s former ChiefFinancial
Oflicer (“CFO”) J ames Schneider (“Schneider”). Dell separately committed the accounting
violations through the conduct of defendant Schneider and other senior former accounting

executives Defendants Leslie Jackson (“Jackson”), Assistant Corporate Controller, and Nicholas

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Dunning (“Dunning”), Finance Director of Dell’s Europe, l\/Iiddle East, and Africa region
(“EMEA”) aided and abetted Dell’s improper accounting

2; `From 2002 to 2006, Dell failed to disclose the significant benefits it received from
large payments from Intel and materially misrepresented the basis for its improving profitability
In Dell’s Forms lO-Q and lO-K for this period, and in other public statements, l\/Iichael Dell,
Rollins, lSchneider and others repeatedly cited certain “cost reduction initiatives’7 and_“declining
' component costs” as the bases for Dell’s increasing profit margins. ln fact, Dell’s increasing
profitability Was largely attributable to an unusual source of fimds: payments from lntel, a
microprocessor manufacturer that Was one of Dell’s largest vendors During this period, Intel
effectively paid Dellnot to use processors manufactured by Advanced Micro Devices; Inc.
(“AMD”), Intel’s arch-rival. lntel’s payments to Dell, Which Were the subject of various antitrust
investigations and claims, grew significantly When measured as a percentage of Dell’s operating
income, these payments grew from about lO% in fiscal year 2003 (“FY03”) to 38% in FYOG,
peaking at 76% in the first quarter of fiscal 2007 (“QlFY07”). While almost all of the Intel funds
Were incorporated into Dell’s component costs, Dell did not disclose the existence, much less the
magnitude, of the Intel exclusivity payments_.

3. ln May 2006 (Q2FY07), Dell announced that it intended to begin using AMD
microprocessors in certain of its products later that year. Intel responded by cutting its exclusivity
payments In that same quarter Dell reported a 36% drop in its operating income. In dollar terms,
the reduction in intel exclusivity payments Was equivalent to 75% of the decline in Dell’s
operating income. Michael Dell, Rollins, and Schneider had been Warned in the past that Intel
vvould cut its funding if Dell added AMD as a vendor. Nevertheless7 in the Q2FY07 earnings call,

Dell told investors that the sharp drop in the company’s operating results Was attributable to Dell

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pricing too aggressively in the face of slowing demand and to component costs declining less than
expected l `
4. In addition to Dell’s disclosure violations, Dell’s most senior former accounting
personnel engaged in a Wide-ranging accounting fraud by maintaining a series of “cookie jar”
reserves that it used to cover shortfalls in operating results from FY02 to FY05.
5. Defendants,- by engaging in the conduct alleged as to each below, violated the
following:
(i) Dell violated Section l7(a) of the Securities Act of 1933 (“S_ecurities Act”) [15
U.S.C. § 77q(a)] and Sections lO(b), l$(a), l3(b)(2)(A) and l3(b)(2)(B) of the Exchange
Act [15 U.S.C. §§ 78j(b), 78m(a), 78m(b)(2)(A) and 78m(b)(2)(B)] and Rules lOb-S,
12b-20, l3a-l, and l3a-113 [17 C.F.R. §§ 240.10b-5, 240.l2b-207 240.13a-l, and ~
240'.l3a-l3], promulgated thereunder. Unless restrained and enjoined, Dell will in the
future violate such provisions
(ii) Michael Dell violated Section l7(a)(2) and (3) of the Securities Act [15 U.S.C. l
§ 77q(a)(2) and 77q(a)(3)] and Rule 13a-14 of the Securities Exchange Act of 1934
(“‘Exchange_ Act”) [l7 C.F.R. § 240.13a-l4] and aided and abetted Dell’s violations of
Section l3(a) of the Exchange Act [15 U.S.C. §§ 78m(a)] and Rules 12b-20, l3a-l, and
13a-13 [l7 C.F.R. §§ 240.12b-20, 240.l3a-l, 240.l3a-13], promulgated.thereunder,
pursuant to Section 20(e) of the Exchange Act [15 U.S.C. § 78t(e)]. Unless restrained and
enjoined; Michael Dell Will in the future violate or aid and abet violations of such
provisions
(iii) Rollins violated Section l7(a)(2) and (3) of the Securities Act [15 U.S.C. §

77q(a)(2) and 77q(a)(3)] and Rule l'3a-l4 of the Exchange Act [l7 C.F.R. § 240.l3a-l4]

b.)

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and aided and abetted Dell’s violations of Section l3(a) of the Exchange Act [15 U S. C. §§ »
78m(a)] and Rules l2b- 20, l3a-l and 13a-13 [17 C. F R §§ 240. 12b- 20, 240. 13a-1
240.l3a-13], promulgated thereunder, pursuant to Section 20(e) of the Exchange Act [l 5
U.S.C. § 78t(e)]. Unless restrained and enjoined, Rol'lins will in the future violate or aid '
and abet violations of such'provisions.

(iv) Schneider violated Section l7(a)(2) and (3) of the Securities Act'[l§ U.S.'C. §
77q(a)(2) and 77q(a)(3)], Section l'3(b)(5) of the Exchange Act [l5 U.S.C. § 78m(b)(5)]
and Rules 13a-l4, l3b2-l and l3b2-2 [l7 C.F.R. §§ 240.l3a-l4, 240.l3b2-l and ii
240.l3b2-2], promulgated thereunder, and aided and abetted iDell’s Violations of Sections
l3(a), l3(b)(2)(A) and 13(b)(2)(B) of the Exchange Act [15 U. S. C §§ 78m(a),
78m(b)(2)(A) and 78m(b)(2)(B)] and Rules l2b-20 13a- 1, and 13a-13 [17 C F. R. §§
240.12b-20, 240. l3a-l, and 240.l3a-l3], promulgated thereunder, pursuant to Section
20(e) of the Exchange Act [l 5 U.S. C. § 78t(e)]. Unless restrained and enjoined, Schneider
Will in the future violate or aid and abet violations of such provisions-

(v) Jackson violated Section l3(b)(5) of the Exchange Act [15 U.S.C. § 78m(b)(5)]
and Rules l3b2-l and l3b2-2 [17 C.F.R. §§ 240.l3b2-l and 240.l3b2-2], promulgated
thereunder, and aided and abetted Dell’s violations of Sections l3(a), l3(b)(2)(A) and
l3(b)(2)(B) of the Exchange Act [l5 U.S.C. §§ 78m(a), 78m(b)(2)(A) and 78m(b)(2)(B)]
and Rules le-20, l3a-l, and 13a-13 [17 C.F.R. §§ 240.12b-20, 240.l3a~l, and
240.l3a-l 3], promulgated thereunder, pursuant to Section 20(e) of the Exchange Act [15
U.S. C. § 78t(e)]. Unless restrained and enjoined, Jacl<son will in the future violate or aid

and abet violations of such provisions

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(vi)Dunningviolated Section 13(b)(5) of the Exchange Act [15 U.S.C. §78m(b)(5)]
and Rule 13b2-1 [17 C.F.R. §§ 240.13b2-1],_promulgated thereunder, and aided and
abetted Dell’ S violations of Sections 13(a),13(b)(2)(A) and 13(b)(2)(B) of the Exchange
Act [15 U. S C §§78m(a), 78m(b)(2)(A) and 78m(b)(2)(B)] and Rules 12b-20, 13a-1, and
13a-13 [17 C.F-.R. §§240.12b-20, 240_.13a-l, and 240.13a-13], promulgated thereunder,
pursuant to Section 20(e) of the Exchange Act [15 U.S.C. § 78t(e)]. Unless restrained and

enjoined, Dunning will in the future violate or aid and abet violations of such provisions

` _ JURISDICTION AND VENUE

6. This Court has jurisdiction over this action pursuant to Sections 20(b) and 22(a) of
the Securities Act [15 U S C. §§ 77t(b) and 77v(a)] and Sections 21(d), 2l(e) and 27 of the
Exch_ange Act [15 U. S. C. §§ 78u(d), 78u(e) and 78aa].

‘7. The Defendants, directly or indirectly, have made use of the means and
§ instrumentalities of interstate commerce, of the mails, or of the facilities of a national securities

exchange in connection with acts, practices and courses of business alleged in this Complaint.

8. Venue is proper in this District pursuant to Section 22 of the Securities Act [15
U.S.C. § 77v] and Section 27 of the Exchange Act [15 U.S.C. § 78aa] because, among other
reasons7 most of the conduct constituting the violations alleged herein occurred within this
’District.

DEFENDANTS

9. Dell Inc.' (“Dell”) is a Fortune 100 company in the business of providing electronic
products, including mobility products, desktop PCs, peripherals7 servers7 networking equipment,
and storage Dell also offers services, including software7 infrastructure technology consulting

and applicationsj and business process services Dell was incorporated in Delaware in 1984 and is

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based in Rou_nd Rock, T'exas. Since July 2006, Dell’s common stock was registered with the -_
Commission pursuant to Section 12(b) of the Exchange Act and is traded on the NASDAQ Global
Select Market_. During the prior re1evant period,' Dell’s common stock Was registered with the
Commission under Section 12(g) of the Exchange Act and quoted on the Nasdaq National Market
System. De'll’s fiscal year is the 52 or 53 Week period ending on the Friday closest to January 31.
Each quarter then runs for either 13 or 14 weeks, also ending on Fridays.

10. Michael S. Dell (“Michael Dell”), 45, resides in Austin, Texas. Michael Dell
founded Dell in 1984 and-served as CEO from 1984 until July 2004. In January 2007,. he resumed
the role of CEO, a position he holds today Michael Dell has held the title of Chairman of the
Board and has served as a Director since he founded the company Michael Dell owns in excess of
' five percent of the outstanding common stock of Dell Inc; and has done so since the company went
public in 1'988. During the relevant time period, Michael Dell reviewed, approved and signed
Dell’s annual reports on Forms 10-K flled with the Commission on April 28, 2003, April 12, 2004,
March 8, 2005 and March 15, 2006. Michael Dell signed the Sarbanes-Oxley certifications for the
April 28, 2003 and April 12, 2004 Forms lO-K. During the relevant time period, While serving as
CEO, Michael Dell also reviewed and approved Dell’s quarterly reports on Forms lO-Q filed with
the Commission between September 16, 2002 and June 9, 2004, and signed the Sarbanes-Oxley
certifications for those filings Michael Dell participated in making public statements concerning
those and other periodic reports During the period from July 2004 to June 2006 When he was not
CEO, he reviewed at least certain of Dell’s Forms 10-Q, but did not sign them`.

11. Kevin B. Rollins, 57, resides in Dover, Massachusetts. Rollins joined Dell in April f
1996 as Senior Vice President for Corporate Strategy, Was named Senior Vice President and

General Manager for the Americas in May 1996, and Was named Co-Vice Chairman in 1998. In

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2001, Rollins’ title was changed from Co-Vice Chairman to Co-President and Co-ChiefOperating l
Officer. He was named CEO-of Dell in July 2004. He stepped down as CEO on January 31, 2007
and remained a consultant at -Dell until May 4, 2007.' During his time as CEO, Rollins reviewed,
approved and signed Dell’s annual reports on Forms lO-K.filed With the Commission on March 8,
§ 2005 and March 15, 2006, and signed the Sarbanes-Oxley certifications for those filings During l
' his time as CEO, Rollins also reviewed and approved Dell’s quarterly reports on Forms lO-Q filed
with the Commission between September 7, 2004 and June 7, 2006, and signed the
Sarbanes-Oxley certifications for those filings Rollins participated in making public statements
concerning those and other periodic reports Rollins reviewed at least certain of Dell’s Forrns
lO-Q during FY03, and FY04, but did not sign them.

12. J ames M. Schneider, CPA, 57, resides in Austin, Texas. Schneider joined Dell in
September 1996 as Vice President of Finance and Chief Accounting Officer (“CAO”). While
keeping his position as CAO, he was named Senior Vice President in September 1998 and'CFO in
March 2000. In November 2002, Schneider left the CAO position, but remained CFO, a position
he held until January 1, 2007. Schneider left Dell on February 2, 2007. Schneider, a CPA licensed
in Wisconsin, also worked as an auditor at what Was then Price Waterhouse f`rorn 1974 to 1993,
rising to the level of partner Schneider graduated from Carroll University With a bachelor’s
degree in Accounting. During his time as CAO and CFO, Schneider reviewed, approved and
signed Dell’s annual reports on Forms lO-K filed With the Commission on May l, 2002, April 28,
2003, April 12, 2004, March 8, 2005, and March 15, 2006. During his'rime as cAo, schneider
reviewed7 approved and signed Dell’s Forms 10~Q filed with the Commission on June 15, 2001,

September 17, 2001, December 17, 2001, June 17, 2002 and September 16, 2002. After

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November 2002, when he was still CFO,,but no longer .CAO, Schneider reviewed and approved
' Dell’s Forms lO-Q and signed the Sarbanes-Oxley certifications for those filings
13. Leslie L. Jackson, 45, resides in Durango, Colorado. "Jackson joined Dell in July

1999 as a Finance Senior_ Manager in Corporate Reporting. In April 2000, while maintaining the

same title, she moved to the Treasury Controller. Jackson was named Director of Financial

Reporting in October 2001, Was named Corporate Assistant Controller in June 2003,.and was

_ named Director of Global Finance Systems in Janua_ry 2005, a position that she retained until she
left Dell in 2008. Prior to Dell, Jackson worked as an auditor at ArthurYolung from July 1987 to '
July 1990 and at Ernst & Young from November 1990 to May 1991, rising to the level of senior
accountant Jackson holds a bachelor’s degree in Accounting from Texas Tech University and a
l\/laster’sof Accountancy from the University of Alabama. Jackson was a CPA licensed in Texas,v
but did not renew her license in December 2008. During her time as Corporate Assistant
Controller, Jackson reviewed and approved Dell’s annual reports on Forrns lO-K and quarterly
reports o_n Forms 10-Q filed with the Commission From November 2003 to February 2005,
Jackson served as a member of Dell’s Disclosure Review Committee (“DRC”).

14. Nicholas A. R. Dunning, 47, resides in Reading, England. Dunning joined Dell in ~
1997as Director of Finance Operations for European Operations, and was named Vice President
of Finance for the EMEA Home & Small Business unit (“HSB”) in 1998. While in this position,
he also became one of two Vice Presidents of Finance for EME_A in 2001, a position he held until
early 2004., Dunning then became vice president of Marketing in HSB before being named Vice

l President and General Manager for the business unit in August 2004. He held this position until he

left Dell on February 9, 2007. Dunning was a Chartered Accountant with Arthur Andersen & Co.

from 1985 to 1989.

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RELEVANT ENTI'rIES `

15. Intel Corporation is a Delaware corporation, headquartered in Santa Clara,
California, which designs, develops, and manufactures semiconductor chips Intel’s common
stock is registered with th_e.SEC pursuant to Section '12(b) of the -Exchang'e Act and is traded on the
NASDAQ Global Select Market. Intel is current on its SEC filings l

16. Advanced Micro Devices, Inc. (“AMD”) is a Delaware corporation,
headquartered in Sunnyvale, California, Which-d'esigns, develops, and manufactures
semiconductor chips. AMD’s stock is registered with the SEC pursuant to Section 12(b) of the
' Exchange Act and is traded on the New York Stock_Exchange. AMD is current on its SEC filings

17. g .PricewaterhouseCoopers LLP (“PWC”) is a national public accounting firm
with its headquarters iri New York, New York. PWC audited Dell’s financial statements
throughout the relevant period.

DELL’S FISCAL YEAR

18. Dell’s fiscal year is the 52 or 53 week period ending on the Friday closest to

January 31~. Each quarter then runs for either 13 or 14 weeks, also ending on Fridays.

THE DISCLOSURE VIOLATIONS: INTEL’S PAYMENTS TO DELL
A. Background of Intel’s Exclusivity Payments to Dell

19. Dell began its business in 1984 as an assembler of personal computers (“PCs”) that
were “clones” of the original.IBl\/l personal computer IBM PCs used Intel-designed central
processing units-(“CPUS”)~ and Microsoft operating systems, so Dell did the same Early in its
corporate history, Dell purchased CPUs from lntel, AMD, and others Beginning in the 19903,

Dell chose to buy its CPUs exclusively from lntel.

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20. Intel was not always the only choice. AMD produced CPUs for IBM and its clones
beginning in 1982 under a license from Intel. In 1986, Intel “canceled”»thislice`nse, leading to
extensive litigation with AMD.. In 1994, Al\/ID finally prevailed in its first legal conflict with Intel.

21. Beginning in -1991, AMD began to make advances in its own CPU design and
manufacture, thereby increasing competitive pressure on lntel. In the 1'990s, in at least partial
response to the rise of AMD, Intel began several programs to promote its CPUS as the industry
standard for personal computers 'fhe best known of these programs was the “lntel Inside”
marketing campaign. As part of the “Intel Inside” and otherjoint marketing efforts Intel paid its
vendors including Dell, certain marketing rebates pursuant to written contracts (As is the case
with all references to Intel payments in this Complaint, Intel did not “pay” Dell; rather, Intel would
issue Dell credit memos reducing the overall amount that Dell owed Intel.) _

§ 22. Generally, the moneys associated with these contractual marketing programs Were
called “market development funds” (“MDF”). As appropriate under the accounting rules, when
Dell received MDF payments or credits from Intel, it treated them as reductions..in its operating
expenses because the payments offset operating expenses that Dell had incurred in marketing
Intel’s products

23. Beginning at least as early as 2001, Intel began to provide additional “rebates” to
Dell and other personal computer makers that were not related to the contractual marketing
program and that were different in character from ordinary course price discounts No one
disclosed these payments to the market. ln recent years these payments have been the focus of at
least five different government antitrust investigations as well as a major private antitrust suit

launched by AMD. The primary claim in these investigations has been that Intel was paying its

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customers to limit their purchases of AMD products 111 Dell’s case, the claim was that Intel was
paying Dell to boycott AMD entirely

24. Intel publicly denied the charges Dell said nothing on the subject. Dell
acknowledged in its public filings that Intel was its sole source of CPUs, but it only disclosed
information regarding componentprices with respect to"‘vendors” in general.l

25. These disclosures omitted material facts relating to Intel’s payments or credits to
Dell, which -- separate from the MDF programs ---soared from $61 million in QlFY03 (10% of
operating income) to over $720 million in QlFY07 (76% of operating income), an increase of
about 1000% in four years The increase in Intel payments to Dell coincided almost exactly with

l AMD’s introduction of its Opteron` CPU that was in the view of many, technologically superior to

Intel’s competing CPU.

b , B. The Developmen_t of Intel’s Exclusivity Payments to-Dell

26. Up until late 2001, Intel provided Dell rebates -- separate from the MDF programs
q -- on an undefined ad hoc basis These rebates reduced Dell’s prices below the “Tier 1” price
discounts that Intel provided Dell and other large computer assemblers in the ordinary course of
business At the end{of 2001, Intel began a program called °‘MGAP” (short for “l\/lother of All
Programs”), pursuant to which it agreed to give Dell a 6% rebate going forward on all of Dell’s
- CPU purchases The calculation of the percentage rebate evolved over time and was ultimately
based on a percentage of Dell’s entire net spend with Intel. This MOAP approach, which Intel l
could have ceased or amended at any time, relieved Dell of the need to justify each rebate that it
sought

27. In January 2003, Intel changed the name of the rebate program from MOAP to
MCP, which was short for “Meet Competition Program.” “Meeting competition’7 is a concept

under the Robinson-Patman Act of 193 6, an antitrust statute that prohibits price discrimination

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The Robinsonef’atrnan Act generally prohibits a vendor from selling the same product at different
prices (or on generally different terms) to different customers The Robinson-Patman Act q l
recognizes a defense to this general prohibition, however, that allows companies to charge
different prices to different customers if one of the customers has a competing vendor offering a
better price `

28. Other than the name of the prograrn, it is not clear how the MCP credits related to
the legal parameters of the`Robinson-Patman Act. Nevertheless, Intel asked Dell to prepare “Meet
Competition Requests” to comply with.a framework that Intel provided. As requested, Dell’s
procurement team regularly produced elaborate schedules that ostensibly allocated the
percentage-based rebate it expected to receive from Intel to specific Intel products that Dell
purportedly intended to purchase Intel “replied’-7 to the Dell schedules by indicating how much it
was willing to provide in rebates for each specific Intel product These schedules created the
appearance that Intel and Dell were comparing prices for each intel product that Dell intended to
purchase, and that lntel was responding with appropriate rebates to be applied against those
products

29. ln fact,_ the MCP payments did not relate to any systematic assessment of the
pricing of any particular processor;`nor did they relate to the specific purchase of any supposedly
required processor The Dell executive overseeing the creation of the“Meet Competition
Requests’_7 admitted that these requests were, though required by lntel, a meaningless exercise to
Dell: he simply-instructed the Dell team preparing the requests to put together enough data to
justify a “big[ger] number” than Dell was expecting to negotiate for that quarter’s MCP discount

30. Rather than matching the particulars of any specific competitive situation, the MCP

payments started with a baseline percentage of the aggregate dollar value of Dell’s purchases from

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_Intel. _To that baseline~, the_parties occasionally added large lump-Su_m amounts based on
negotiations between the top management of the two companies that from time-to-time involved
Minhael Dell and Kevin Rnnins. j

31. j Although the use of a percentage for the baseline may suggest some sort of
contractual commitment, that impression would be incorrect At any given time, the continuity of '
MCP payments was at the discretion of lntel, and Intel could cut the payments off at any time ` l
without any recourse by Dell.

32. The baseline percentage changed significantly during the relevant period, largely in
response to Dell’s assertions that it needed better prices in order to continue offering Intel~based

l products exclusively lnitially, at the outset of Dell’s FY03, the fixed percentage was 6%. But by
Dell’s FY07, it was over 14%.

33. The lump-sum amounts did not fit any fixed pattern. lnstead, taken together, the
overall growth of the MCP payments largely reflected Dell’s desire to meet its quarterly forecasts
and Intel’s desire to keep Dell from buying AMD products l

34. From QlFY03 through Qlli:Y07, lntel’s MCP rebates to Dell totaled $4.3 billion

v ($3.4 billion in percentage-based rebates and $881 million in lump sum payments). The following

table breaks these figures down:

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MCP TABLE
Percentage~ Percentage- Lump Total Dell’s Increase / MCP %
Applied- for Based Sum MCP Reported (Decrease) ` of »
Rebate Rebate Payment Operati`ng in Gperating
Inc_ome Operating ' Income
. , Income .

, Q1FY03 6% $61m - senn ss90m - ` 10%
Q2FY03 6% ' $57m $3m' $601!1 $677m- 15% 9%
Q3FY03 6%, $59rn $,12rn ' $7lrn _$758m 12% v 9%`
Q4FY03 6.3% $77rn $7m $84rn $819m 8% lO%
QlFYO4 6.3% $91m $8111 $99m $811m (1%) 12%
Q2FY04 6.3% $106m $6m $1 12rn $840m 4% 13%
Q3FY()4 6.3% $105m $40m $145111 $912m 9% 16%
Q4FY04 7% $l 18m $82m $ZOOm $981m 8% 20%
QlFY05 8.7% $l37rn $70m $207111 $966m (2%) 21%
Q2FY05 12% + var. $2101n - $210m $1,006m 4% 21%

_ Q3FY05 12%+ var. $250rn _- $250m $1,095m 9% 23%
Q4FY05 12%+ var. $293111 v$75m $368m $1,187m 8% `31%
QlFYOG 12%+ var. $3071r1 $81m $388m $1,174m (1%) ` 33%
Q2FY06 b 12%+ var. $313m $l l9m $432m $1,173m - 37%
erYod1 12%+ var. 3339111 - ' $339m $754m (36%) 45%
Q4FY06 14%+ var. $42_3m $601n . $483m $1,246rn 65% 39%
Q 1 FY07 14%+ var. ' $405m $318m $723m $949m (24%) _ 76%

 

 

During this period, Dell’S business grew substantially Dell’s total revenue grew from $35

billion to over $57 billion by the end of FY07. Dell’s quarterly purchases from Intel rose from

$1 .4 billion in QlFY03 (on 6.2 million units) to $2.6 billion in QlFY07 (on 10.5 million units).

As a percentage of Dell’s total costs of goods sold, net lntel spend increased from 17% to 22%

over the period.

C.

35.

The Issue of Exclusivity in Dell’s Negotiations With Intel

ln 1999, AMD introduced the first version of its Athlon processor for personal

computers This processor was almost universally recognized as being superior to Intel’s then

 

1 ln Q3FY06, Dell recorded a non-recurring, special charge of$4421\/1 related warranty costs workforce

realignment, product realizations excess facilities and a write-off of goodwill. The Q3FY06 lump sum payments

also do not include so-called “Expedites” and other payments that Dell received from lntel.

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current top model for PCs, the Pentium 111 1n 2003, AMD introduced the Opteron 64- bit
processor for network servers and workstations. This processor was almost universally recognized
as being superior to Intel’s then top model for servers, theXeon.

36. 1n 2001, Dell considered using these new AMD CPUs in specific value platforms
During these discussions in February 2002, one Dell employee reported on a meeting attended by
the Dell Senior Vice President responsible for the Intel relationship (“the SVP”); Michael Dell and -
Rollins: “We also had an interesting exchange on MOAP. Michael/Rollins asked what the impact
would be if we `did an AMD deal now. [A Dell employee] (predictably) said Fwe might see l\/IOAP
go down for a couple of quarters but then Intel would raise it even higher than it is now in order to
. win the business.back.’ [the SVP] and 1 responded by saying we would probably lose 50% of
MOAP and 100% of the MDF as long [as] we were selling AMD, and it would probably never
come back up, especially in ‘04+ when the game starts to end . . . .."’ (ellipses_in original). In that
quarter, Dell received 861 million in MOAP payments and $72 million in MDF payments from
Intel, while its reported operating income was $590 million. Michael Dell identified the SVP as a
the Dell employee with the most reliable information about Intel’s intentions l

37. Dell subsequently sought higher payments from Intel for not using AMD CPUs. ln
lune 2002, in response to an action item from a meeting with Michael Dell and Rollins Dell’s
procurement team developed a “laundry list of things” that the company would require Intel to do
for Dell to “remain monogamous.’7 A subsequent version of the list was provided to Michael. Dell
and.Rollins and-included an item seeking an increase in M()AP funding In July 2002`, Rollins
reported to Michael Dell that Intel “seem[s] to want to do whatever it takes to persuade us to not go

with [AMD].”

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j 38. 1n Q3FY04 (ended 10/31/03), D_ell considered a potential deal involving Microsoft, di
AMD, and IBl\/I (“l\/IAID”). This deal contemplated that Dell would add Opteron and other AMD `
CPUs to its product lines and take an ownership interest in AMD. Ihis proposal envisioned Dell
shifting 25% of its total CPU purchases to AMD. l

39. As Dell was negotiating the MAID deal, however, Intel’s CE(3 told Michael Dell
that`Inte_l was prepared to increase its MCP payments to Dell significantly The SVP and his Intel
counterpart then negotiated a “Tactical and Strategic Fund” through‘which lntel agreed to pay Dell
$258 million over four quarters from Q4FYO4 to Q3FY05. On September 30, 2003, Intel’s CEO
and Michael Dell shook hands on a new MCP deal. Two days later, Michael Dell said to Rollins
Schneider, the SVP, and others: f‘We need to close down the [MAID] discussions and move on.”

40. In or about 2004, the SVP told Michael Dell and Rollins that if Dell started using
AMl) CPUs Intel would likely not only stop or reduce the MOAP and MDF funds it had been
paying Dell, but might re-direct those payments to Dell’s competitors Dell decided not to
purchase AMD CPUs at that time.

41. Over the following ten quarters Intel established five additional MCP programs
through which it continued to pay Dell, in the form of higher percentage-based rebates and/or lump
sum payments either not to use AMD CPUs or to delay the announcement of its intention to use
AMD CPUs. The MCP payments that Intel provided Dell were the subject of regular negotiations
between the companies with Dell routinely seeking, and Intel commonly agreeing to provide,
larger amounts to maintain Dell’s exclusive use of Intel CPUs.

D. The Importance of Intel’s Exclusivity Payments to Dell

42. Dell would often seek additional rebates from lntel in order to close a gap between
its forecasted results and its earnings targets Dell Was quite open with Intel about the reasons it

was requesting additional money

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43. In Q3FY04, the`quarter in which Intel created the “Tactical and Strategic Fund”
that was intended to run froml Q4FY04> to Q3FYO_5, `Dell asked Intel to advance $40 million from
that fund. Gontemporaneous Intel notes prepared in September 2003 by Intel’s lead negotiator
with Dell stated that Dell sought the $40 million lump sum advance to “save their quarter” and
referenced Dell’s “current Qtr jam.’7 The advance, which comprised 4.4% of lDell’s operating _
income in that period, contributed one penny to Dell’s EPS. Dell met analysts’ consensus estimate
of 26 cents

44. Similarly, in Q4FY04, Dell sought a 825 million lump sum payment from the
Tactical and Strategic Fund after forecasting that its results would fall short of analysts’ consensus
In a January 30, 2004 string of emails to the SVP, Schneider wrote “1 think we will»ba_rely make the
quarter because of the Intel money.’7 Dell would have missed analysts’ consensus in this quarter
without the additional lntel funds Rollins however, stated to investors that it was Dell’s business
model that allowed the company to continue its streak of meeting or- exceedingWall Street
earnings targets Rollins stated during the company_’s Q4FY04 earnings call that Dell’s record of
“twelve consecutive quarters of meeting or exceeding guidance to investors is driven by our
tightly controlled supply chain, highly efficient infrastructure and direct relationships With
customers.” These statements by Rollins were contained in a-script that was circulated in advance
of the earnings ca11 to Michael Dell, Schneider, and other Dell personnel.

45. In early March 2004 (QlFY05), Dell’s then-Chief Accounting Officer (“CAO”)
informed Michael Dell, Rollins and Schneider that Dell was running behind on its forecasts but
that Dell should be able to meet the consensus EPS number of 28 cents “as long as we get $75
million from Intel.” On March 31, 20047 Schneider asked the SVP about the status of his MCP

negotiations in an email that refers to the SVP as “l\/lr. ‘the quarter is on your shoulders.”’

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46. _ n Michael Dell and Rollins were involved in the negotiations with Intel to close the
gap to consensus EPS. Ultimately, Intel provided Dell a 870 million lump sum payment that
quarter (equivalent to approximately 2 cents per share). That quarter, Dell met analysts’ EPS
consensus of 28 cents On April 3, 20047 Rollins sent Michael Dell an email arguing that Dell
should diversify its business toward higher margin server and other products `He noted that Dell’s
reliance on Intel payments was a strategic “problem,” stating that “for 3 qtrs now, Intel money has
made the qtri A bad way to run the railroad.’-7 Rollins subsequently forwarded the email to
>Schneider.`

47. In December 2004 (Q4FYO5), Schneider informed Rollins and the SVP that Dell
needed additional money from Intel to meet its targets The 875 million that Intel agreed to
provide that quarter (approximately 2 cents per share) allowed Dell t_o beat analysts’ EPS
consensus of 36 cents by 1 `cen`t. ln this period as well, Dell would have missed analysts’
consensus without the additional Intel funds Rollins however, stated to investors that it was
Dell’s execution that allowed the company to continue its streak of meeting or`exceeding Wall
Street earnings targets Rollins stated during the company’s Q4FY05 earnings call, “We have now
met or beat our guidance to investors for 16 consecutive quarters demonstrating a consistency of
execution that is unrnatched in our industry.” These statements by Rollins were contained in a
script that was circulated in advance of the earnings ca11 to Michael Dell, Schneider, and other Dell
personnel

48 . lri June 2005 (Q2FYO6), after recognizing that Dell would fall short of its forecasts
without additional Intel funds Rollins wrote to the SVP and another Dell executive, instructing
them to seek further MCP payments from lntel. After being told that Dell had already negotiated

an additional 830 million MCP from Intel for Q2FY06 and that the prospects for additional MCP

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funds Wer'e poor7 Rollins replied on June 22, 2005', “[t]hen prepare for 825 stock price-” The
closing price of Dell’s stock'that day was 840.45. -

49. ' On June 29, 2005, Rollins e-mailed Schneider and others that he had asked Intel’s
CEO “for [an additional] 810-20m in luly, pull-in, MDF, whatever he wanted t`o ca11 it, but we -
needed the favor. His comment in summary was you don’t ask for favors very often, so we will
see if We can help. My take away was that he would get us the assistance.” Ultimately; Intel
provided Dell a 81 19 million lump sum payment that quarter (equivalent to approximately 4 cents
per share), allowing the company to meet analysts’ EP-S consensus of 38 cents

` 50. `In the 20 quarters during this period, from QlFY02 through Q4FY06, Dell met

analysts’ EPS consensus in 15 quarters exceededconsensus by l cent in 4 quarters and exceeded
consensus by 2 cents in l quarter. Dell would have missed the EPS consensus in every quarter had
v it not received MCP payments from Intel.

E. Dell Knew. that Intel Was Paying For> Exclusivity y

51. l Michael 'Dell, Rollins and Schneider had been advised that Intel would likely
reduce MOAl’/MCP payments by about 50% if Dell began using any AMD CPUs (in numerous
occasions during the relevant period, Dell modeled the financial impacts of using AMD CPUs in
addition to Intel’s ln certain of these models at least one of which was presented to Michael Dell,
Rollins and Schneider, Dell assumed that it would lose about 50% of the MCP payments if it
added any AMD products This would have matched the amount of MOAP/MCP payments that
the SVP then believed Intel to be providing Dell’s largest competitor

52. Additionally, the SVP advised Schneider in l\/larch 2004 that he believed Intel

“would move it close to no MCP for the first quarter” after Dell added AMD and would “use some

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legal excuse that lntel has to evaluate the whole MCP program based on the Dell decision that
eliminates meet comp” because Dell would be using Intel’s competition
53. Michael Dell admitted to A_MD’s CEO that, although Dell wanted to use AMD
CPUs in its products it had'to terminate negotiations with AMD in the fall of 2003 because Dell
feared that it could not bridge the loss of the MCP money if it were to end its exclusive relationship
- with lntel.
54. On November 24, 2004 (Q4FY05), Rollins expressed his concern to Schneider that
Dell would take “a big hit from Intel pulling our funding” after Dell added AMD. Rollins stated,
.“The thinking being that at some point we will add AMD and Intel [will] cut back our funding.”
55. During negotiations in Q4FY05 in which Intel initially resisted providing MCP
funds to Dell in response to AMD’s Opteron CPU, Rollins wrote in an email to Michael Dell,
Schneider,- and other Dell executives that Intel’s “intransigence on MCP is a problem. We are
going to have to get off their drug and leave them within 18 months if this is their position on
Opteron.”
56. After Intel agreed later in Q4FY05 to create the 8275 million Opteron Fund,
Rollins wrote in an email to Michael Dell and other Dell executives that “with the deal we just cut
with Intel, don’t think we can do anything for several qtrs but assume we will be back at AMD and
Intel in about 6-9 months.” An internal Intel email, from the Intel employee most responsible for
the Dell relationship, described Dell’s agreement to continue using Intel CPUs exclusively as the
b quietde quo for the 8275 million fund.

F. Dell’s Eventual Decision to Use AMD Products

57. The Opteron Fund payments continued through the end of Dell’s Q2FY06. Shortly

thereafter7 Dell resumed negotiations with AMD about purchasing AMD processors

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58. On January 31, 2006 (Q4FY06)_, Rollins sent anemail to members of Dell’s senior
management, including Michael Dell, raising concerns about possible consequences if AMD were
to leak the"‘deal” they were negotiating “before we have products to ship.” He observed that, “[i]t
will dramatically hurt us with Intel and in the market for our products if they do. . We would be
forced to deny it.” - j l

59. Upon concluding its negotiations with AMD, Dell planned to announce on May 4,
2006 that it would begin using “a broad range of AMD-based'systerns.’7 Intel had previously
agreed to provide Dell a 8198 million lump sum payment in QlFY07 in addition to the k
percentage-based payments To forestall the announcement of Dell’s move to AMD, Intel agreed
tol pay Dellan additional 8120 million lump-sum in QlFYO7 (which Intel’s CEO_-believed would

be enough to cover Dell’s earnings shortfall for the quarter), and an additional-8100 million

' lump-sum each quarter for the following two quarters Intel’s CEO believed that these payments
ensured that Dell would continue to use Intel CPUs exclusively until September or October 2006,
when Intel hoped to introduce a new server CPU that would alleviate the competitive pressure of
AMD’s Opteron product, and that Dell would not announce any change to the exclusive
relationship before then. Moreover, Intel’s CEO believed that any Dell product launch featuring
AMD processors later in 2006 would be limited to multiprocessor servers. Dell agreed to cancel
its planned May 4, 2006 announcement of AMD-based products

60. Even with the 8120 million payment that Dell received two days before the'end of
QlFY07, Dell’s'earnings fell short of consensus This was the first quarter in five years that Dell
had missed consensus EPS estimates ln Ql FY07, Dell reported EPS of 33 cents while consensus

was 38 cents Intel’s total MCP payments reduced Dell’s cost of goods sold and had the effect of

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contributing-24 of Dell’s 33 cents per share in this period, with the lump-sum payments alone
contributing over 10 cents t

61. Dell updated its guidance fer QlFY07 after the market closed on May 8, v2006. l
From May 8, 2006 to May 12, 2006, Dell’s stock price fell by over 9%, from 826.43 to 824.02. On
May 12, 2006, Schneider wrote to Michael Dell,- Rollins and the SVP that Dell was “getting
l slammed with missing our numbers and not announcing anything with AMD and our current
plan of record for Q2 is to beg [lntel] for more money to make our targets.” On May 18, 2006,. Dell
announced that it would add AMD to its product lines by the end of the year. ln response, Intel cut
` its MCP payments to Dell by over a quarter of a billion dollars This dramatic cut in the MCP
payments did not reflect any contemporaneous meaningful purchase of AMD processors nor
substitution of AMD processors for those of Intel. Rather, Intel’s reduction in MCP payments
reflected Intel’s response to Dell’s announcement of an intention to use AMD products in the
future.

62. From QlFY07 to Q2FY07, Intel’s MCP payments fell by 8263 million. Prior to
this point, there had been only one quarter in.the history of the MCP program during which the
rebates had not increased -- the quarter after AMD filed its private antitrust lawsuit. In QlFY07,
Dell’s reported operating income was 8949 million. ln Q2FY07, Dell’s operating income was
8605 million. 1n dollar terms the reduction in Intel exclusivity payments was equivalent to 75% of
the decline in Dell’s operating income n

63. Dell failed to disclose the impact of the decline in MCP on Dell’s operating income
lnstead, during the Q2FY07 earnings call about its operating results Schneider told analysts and

investors that the decline in operating income that quarter was attributable to Dell pricing too

aggressively in the face of slowing demand and to component costs declining “less than we

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anticipated.”' These statements Were contained in ascript that was circulated in advance of the .
earnings call to Michael Dell, Rollins and other Dell personnel

64. The second question asked on the Q2FY07 earnings call was whether “a'
precipitous or sharp'decrease in Intel co~marketing dollars ” impacted Dell’s gross margin that
quarter Rollins replied, “[w]e would probably not communicate anything on that. lt is proprietary »
`We do believe that component prices did not come down as we had anticipated, but we wouldn’t
comment on any of our agreements with suppliers.”

G. The Exclusivity Payments Were at Risk and
Disguised the True Performance of Dell’s Business

65. The crash in the MCP payments after Dell’s announcement of its intent to use
AMD processors and the concurrent contraction in Dell’s reported operating income, was
testament to the importance of the MCP payments to Dell’s operating results As the MCP.Table
in paragraph 34 above shows the MCP payments were initially only 9-10% of Dell’s operating
income But by the last quarter before the AMD announcement, these payments constituted 76%
of Dell’s operating income Dell’s apparent success was hostage to Intel’s willingness to continue
paying Dell hundreds of millions of dollars

66. l\/Ioreover, Michael Dell, Rollins and Schneider also understood that the Intel MCP
payments were at risk because of the near continuous scrutiny directed at Intel by various
competition authorities around the world and, to the degree that MCP payments were deemed
anticompetitive,_such payments could abruptly end. By 2003, the U.S. Federal Trade Commission
had begun investigating possible antitrust violations by Intel. ln April 2004, press reports
indicated that the Japan Fair Trade Commission (JFTC) had raided Intel’s Japanese office as part
of its antitrust investigation ln March 2005, the JFTC announced that it had found that Intel had

indeed violated Japa.n’s Antimonopoly Act by paying OEl\/ls “rebates and/or certain filnds’7 on the

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condition thatthe OEMS either not use competitors" CPUs or significantly limit their use. ln May
2004, the European Commission’s competition authorities sought information from Dell and other
OEMS regarding payments they had received from Intel, and'then raided"Dell’s and other OEl\/ls’
European offices in June 2005 as part of this investigation ‘Finally, AMD itself filed a private
antitrust lawsuit against Intel in June 20057 alleging that Intel violated the antitrust laws by making
payments to Dell and other OEMs contingent on their not usi.ng, or limiting their use of, AMD
CPUs in their products Neither Dell nor any other lntel customer was charged with any antitrust
violation in any of those proceedings

67. Dell understood that Intel’s antitrust problems affected Intel’s ability to pay Dell
increasing amounts of MCP payments 'ln Q113Y06’, Intel told the SVP that it was having .
difficulties obtaining authorization to increase MCP payments because the European
Comrnission’s competition authorities were at Intel’s offices at that time. Similarly, after learning
of the AMD suit in Q2FY06, the SVP emailed a colleague, “absolute certainty that MCP won’_t be
increased.” The following quarter (Q3FYO6) was the only period from Q117Y03 through QlFY07
that Intel’s MCP payments to Dell declined. This was also the first quarter since Intel began
making MCP payments in 2002 that Dell missed analysts’ initial forecast for consensus EPS.

68. ln addition, there was concern at Dell about what further actions Intel might take to
punish Dell if Dell began using AMD CPUS. In addition to reducing the MCP payments by 50%,
the SVP informed Schneider in 2004 that Intel would likely not make any MCP or MDF payments
to Dell in the quarter that Dell announced that it would begin selling AMD CPUs. Also in 2004,,
the SVP advised Michael Dell and Rollins that Intel might redirect the lost MCP payments to

Dell’s competitors if Dell added AMD.

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H. Dell’s Misleading Statements and Omissions in its Forms 10-K and lO-Q

69. Despite the material`impact that the Intel MCP payments had on Dell’S operating
results, Dell did not disclose any information relating to the payments in any of its annual or
quarterly reports filed with the Commission for the periods QlFY03 through QlFY07.

70. From FY03 through FYOS, investors did not have an actual understanding that Dell
received exclusivity payments from Intel. In FY06, certain analysts began speculating that Dell
received benefits from Intel for using their CPUs exclusively, though they could not estimate the
value of these benefits In early 2006 (FYO'Z), a widely-followed analyst covering Dell estimated
that Intel paid Dell $300 million annually in “marketing” funds in exchange for Dell’s exclusive
use of its CPUs. lhis was an accurate estimate of the MDF payments that Intel provided Dell in

l Dell’s prior fiscal year. But this estimate did not come close to reflecting the much larger MCP
payments

7l. As shown above in the MCP Table at paragraph 34, Intel’s payments constituted
large and progressively greater proportions of Dell’s earnings In addition to their effect on Dell’s
operating income, these payments affected Dell’s gross margin percentage, which is more
generally known as profit margin. In earnings calls and in its Forms l0-K and lO-Q, Dell regularly
attributed ongoing improvements in its gross margin to two factors: “cost reduction initiatives”
and “declining component costs.” The “cost reduction initiatives” Dell identified involved
“manufa'cturing costs, warranty costs, structural or design costs, and overhead or operating
expenses” that were unrelated to the MCP payments Citing “declining component costs” in its
filings and earnings calls was materially misleading Dell failed to disclose that the gross margin
improvements were due to the MCP payments not ordinary course price reductions that were the
consequence of regular decreases in the prices of technology components and/or routine

fluctuations in prices based on changes in supply and demand Dell senior management touted its

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ability to leverage declining component costs to a greater degree than its competitors because it
maintained little inventory. l

72. In FY06 and `QlFY07, Dell reported decreases in its gross margin percentage: a
0.5% decrease in FY06 from the prior year (18.3%' to 17.8%) and a 1.2% decrease in QlFY07
l from the same period in the prior year (18.6% to 17.4%). In both periods, Dell’s periodic reports
refer to component cost reductions as offsetting other events that reduced Dell’s margins The
disclosures during the relevant period were misleading because they masked an important fact: not v
only was Dell’s reported gross margin percentage substantially and increasingly higher than what
the company generated without the MCP payments, but Dell was generally becoming less
profitablewithout the MCP payments, not more. l

73. Many of D_ell’s materially misleading statements and omissions were in the
Management Discussion and Analysis of Financial Condition and -Results of Operations v
(“MD&A”) section of Dell’s Forms lO-Ks and Forms lO-Qs filed with the Commission during the
relevant period This is an important section of Dell’s financial reports to Dell’s investors The
purpose of the MD&A is to provide investors an opportunity to look at the company through the
eyes of management l f

74. Dell’s materially misleading MD&A disclosures in its quarterly and annual reports,
including the omission of material information concerning the Intel payments, defeated the
purpose of the MD&A. They did not fully disclose Dell’s results of operations and the basis for its
success Dell’s quarterly financial reportsalso failed to disclose information to enable investors to
assess material changes in financial condition and results of operations

75. As a result, Dell’s Forms lO-K and lO-Q and the l\/ID&A sections of those reports,

as well as statements made therein, were materially false and misleading during the relevant period

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The MD&A sections of Dell’s Forms lO-K and lO-Q for'the relevant period did not comply with
ltem 303 of Regulation S-K [l 7 C.F.R. § 229.303], including', but not limited to ltems 303 (a) and v
303(b), as required by Section l3(a) of the Exchange Act.

761 For example, because the magnitude of the MCP payments comprised a material
proportion of, and were otherwise material to, Dell’s animal operating income, gross margin, and 1
other financial metrics that Dell reported in the MD&A of its Forms lO'-K, disclosure of their
. existence and magnitude was necessary to an understanding of Dell’s operating results from FY03
through FY06. By failing to disclose the existence and magnitude of these payments, Dell’s
MD&A failed to comply with Regulation vS-K ltem 303(a) in each Forrn lO-K for this period

7 7. l Becau_se the MCP payments comprised a material proportion of, and were `
otherwise material to, Dell’s quarterly operating_income, gross margin and other financial metrics
that Dell reported iii the MD&A of its Forrns lO-Q, disclosure of their existence and magnitude
was necessary to an understanding of Dell’s quarterly operating results from QlFY03 through
QlFY07. By failing to make any disclosures relating to these payments Dell’s MD&A failed to
comply with Regulation S-K ltem 303(b)(2).

_78. Dell did not disclose in its annual and quarterly reports and other public statements
how the MCP payments affected its annual and quarterly operating results, and thus did not alert
investors to its receipt of a material and potentially non-recurring source of funds

79. A_ significant reduction in either the MCP or MDF payments would have .hada
materially unfavorable impact on Dell’s operating income By the time that Dell filed its FY2006
Forrn lO-K, it intended to end its exclusive relationship with lntel. When Dell filed this Form
lO-K, Michael Dell, Rollins, and Schneider knew that Dell would not actually have any AMD

products to ship until Q3FY.07 at the earliest As a result7 they knew that in QlFY07 and Q2FY07,

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there could not be any positive effects to operating income to offset the loss of MCP payments
prior to actually having AMD products available for sale. They could not have determined that a
_ material effect on Dell’s operating results.was not reasonably likely to occur. 4
80. Intel’s response to Dell’s decision to add AMD to its product lines was a known
' uncertainty that Dell reasonably expected would have a materially unfavorable impact on its
operating income By not disclosing such material uncertainty in its Forrn lO~K for the year ended v
February 3, 2006, Dell’s M.D&A failed to comply With ltem 303(a)(3)(ii) in its FY06 Form lO-K
and concealed the material risks from investors
81. Michael Dell reviewed, approved, and signed Dell’s Forms lO-K for FY03 through
l FY06, and reviewed and approved Dell’sForms lO-Q from Q2FY03 through QlFYOS. Michael
Dell also reviewed and approved Dell’s Forrn lO-Q for QlFY07. Rollins reviewed, approved, and
signed Dell’s Forrns lO-K for FY05 and FY06, and reviewed and approved Dell’s Forms lO-Q for
QzFYoS through QiFY07. schneider reviewed approved and signed Deii’S Ferms_ io-i<"`fer
FY03 through FY06 and reviewed, approved, and signed Dell’s Forms '10~Q from QlFY03
through Ql FY07.
82. Pursuant to section 302 of the Sarbanes~Oxley Act, Michael Dell certified that
Dell’s Forms lO-K for FY03 and FY04 and Forms lO-Q filed with the Commission between
September 16, 2002 and June 9, 2004 complied with Section l3(a) of the Exchange Act. Pursuant
to Section 302 of the Sarbanes-Oxley Act, Rollins certified that Dell’s Forms lO-K for FY05 and
FY06 and Forms lO-Q filed with the Commission between September 7, 2004 and June 7, 2006
complied with Section l3(a) of the Exchange Act. Pursuant to section 302 of the Sarbanes-Oxley

Act, Schneider certified that Dell’s Forms 10-K for FY03 through FY06 and Dell’s Forins lO-Q

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filed with the Commission between September 16, 2002 a_nd June 7, 2006 complied with Section

l3(a) of the Exchange Act.

THE ACCOUNTiNG VIOLATIONS

83. F rom FY02 to FY05, Dell used a variety of “cookie jar” reserves and otherwise
manipulated reserve accounts to manage its financial results Contrary to GAAP, Dell created and
maintained excess accruals in multiple reserve accounts, which Dell used to offset the financial
statement impact of future expenses

84. As explained more fully below, these manipulations were undertaken to meet
consensus earnings targets or to misstate materially important financial metrics. These
manipulations not only materially-misstated Dell’s financial results, but caused material
misstatements in Dell’s annual and quarterly reports filed with the Commission during the period -
The conduct described in paragraphs 83 through 131 is not part of the basis for the charges against
Michael Dell and Rollins

85. Dell manipulated reserves including a) the Strat Fund and other “Corporate
Co_ntingencies”; b) other cookie jar reserves identified in Risks and Opportunities schedules; c) an
improperly-established and used restructuring reserve; d) several reserves in EMEA;{ e) cookie jar
reserves in bonus and profit-sharing accounts; and f) an under-accrued Las Cimas liability reserve.

86. ' The Financial Accounting Standards Board (“FASB”) Statement of Financial
Accounting Standards No. 5, Accountingfor Contz`ngencies (“FAS 5”) and the related
interpretations are among the principal GAAP provisions that govern the recognition of loss
accruals and reserves These accounting principles provide, among other things, that a loss accrual
should be recognized with a charge to income when a loss is probable and reasonably estimable.

The maintenance of reserves for general or unspecified business risks (sometimes called “general

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reserves” or “cookie jar reserves”) is not permitted under GAAP. Further, the accounting
principles provide, among other things, that any over-accrual of a reserve should be reversed into
the income statement as soon as the over-accrual is discovered

87. The impacts_of Dell’s reserve manipulations materially misstated Dell’s operating
results In certain quarters, the manipulations enabled Dell to meet analyst consensus EPS
estimates The manipulations also enabled Dell to misstate materially the trend and amount of
operating income from Q3FY03 through QlFY05 of its EMEA segment, an important business
unit that Dell highlighted Instead of increasing every quarter from Q2FY03 through Ql FYOS,
EMEA’s operating income varied substantially.

88. The reserve manipulations also allowed Dell materially to misstate its operating
expenses (f‘OpEx”) as a percentage of revenue (“OpEx percentage” or “OpEx ratio”), and the
quarter to quarter trend in this ratio, for over three years, from about Q2FY02 through about
Q2FY05. The OpEx ratio was an important financial metric that the Companyv itself highlighted
As reported, Dell’s OpEx ratio during this period was an artificial and fabricated pattern, as shown

,below:

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ln the MD&A of every Form lO-Q from Ql FY03 through QZFYOS, and in other public statements
Dell highlighted each decrease in the ratio as achieving a “record low,” and each instance where
the ratio remained flat as maintaining or continuing the “record low.” Dell attributed such
“records” to reported decreases in the ratio of 0.3% in QlFY03 (from 10.2 % to 9.9%)-; 0.2% in
Q2FY04 (from 9.8% to 9`.6%), and just 0.l% in QlFY04 from (9.9% to 9.8%)`, Dell attributed
achieving or continuing the “record lows” to “cost reduction initiatives” or a “focus on cost
controls” In fact, Dell’s reported OpEx ratio during this period was impacted by accounting

manipulations and the actual ratio generally varied materially from quarter to quarter during this

period

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A. The Strat Fund and Other “Corporate Contingencies”

89. . Fr_om F-Y02 to vFY()S_, Dell maintained a general reserve called the “Strat Fund"
(shortfor “Strategic Fund,” which is unrelated to the “Tactical and Strategic Fund” discussed
above). This was a cookie jar reserve that Dell maintained primarily to reduce future OpEx.
Dell’s corporate finance group referred to the Strat Fund and other improper reserves they
controlled as “contingencies” or “corporate contingencies.” These “cookie jar” reserves consisted
of excess, unsupported balances that resided in accounts controlled by the corporate finance group,
including an “other accrued liabilities” account, which Dell executives frequently referred to by its
number, 24990. The Strat Fund was a “sub-account,” or subset, of 24990. Dell used the corporate
contingencies primarily to reduce its future OpEx by releasing these excess accruals when
unforecasted expenses arose.

n 90. Dell tracked the corporate contingencies in schedules entitled “Estimated
Contingencies in Corporate” (hereinafter “corporate contingency schedules”). Dell’s CAO asked
his subordinates to provide him those schedules at least once per quarter The CAO instructed
subordinates to transfer “excess” accruals - previously-reserved amounts no longer needed for
bona fide liabilities -, to the corporate contingencies

9l. In the 14 quarters from QlFY02 through'QZFYOS, Dell made at least 23 releases
from the Strat Fund and other corporate contingencies 16 of which were recorded after quarters
ended, while Dell was in the process of closing its books Iri a Restatement filed in October 2007,
Dell reversed all Strat Fund activity and all excess balances for the other reserves that appeared on
the corporate contingency schedules

92. Schneider knew or was reckless in not knowing that Dell improperly maintained
excess reserves in the corporate contingencies for use in future periods Schneider received

information about the excess reserves from the corporate finance group. In an email sent to the

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CAO just after_ the FY03 close, a member of the corporate finance group stated, :"l`lie one quarter
end thing that I owe J im is below. He was asking . . . what our contingency is.” As a CPA and a ,
fenner Audit~Partner with Price Waterhouse, Schneider knew, or was reckless in not knowing, that
keeping cookie jar reserves in the corporate contingencies was not in conformance With GAAP.
Nonetheless Schneidersigned one or more management representation letters to kWC in which
he`certified that Dell’s consolidated financial statements complied with GAAP. Schneider also
reviewed, approved, signed and/or certified the accuracy of Forms lO-K and lO~Q that materially
misstated Dell’s financial results because of Dell’s improper accounting for the corporate
contingencies Schneider approved the filings of these periodic reports even though he knew, or
' was reckless in not knowing, that Dell’s accounting for the corporate contingencies was not in
conformance with GAAP.

93. Dell received substantial assistance in connection with the corporate contingencies
from Jackson, a Dell Assistant Corporate Controller, and others Jackson knew or Was reckless in
not knowing that Dell improperly maintained excess reserves in the corporate contingencies for
use in future periods Jackson received several e-mails attaching the corporate contingency
schedules which tracked such excess reserves and communicated with others about the corporate
contingencies Copies of the schedules were kept in a quarterly closing binder that Jackson
maintained and used when briefing top finance executives As a CPA and former Senior
Accountant at Arthur Youngand Ernst & Young, Jackson knew or was reckless in riot knowing
that this use of cookie jar reserves was not in conformance with GAAP. Nonetheless, Jackson _
signed one or more management representation letters to PWC in which she certified that Dell’s
consolidated financial statements complied with GAAP. Jackson also reviewed the Forms lO-K

and lO-Q that materially misstated Dell’s financial results because of Dell’s improper accounting

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for the corporate contingencies Jackson approved the filings of these periodic reports even though
she knew, or was reckless in not knowing, that Dell’s accounting for the corporate contingencies
was not in conformance with GAAP.

B. Other>Cookie Jar Reserves Identified in “R&O Schedules”

94. Beginning in or about QlFYOl through about Q2FY04, Dell’s Corporate
Reporting group prepared, from time to time, a list of items that could help or hinder Dell’s efforts
to meet its financial targets _Corporate Reporting compiled the items in spreadsheets called “Risks
and Opportunities Schedules” (“R&O Schedules”). Schneider and Dell’s CAO reviewed or were
briefed from the R&O Schedules and used the information to decide whether and to what extent
opportunities should be booked Like the Corporate Contingency Schedules, the R&O Schedules
included excess reserves that Dell was carrying from period to period The R&O Schedules also
included non-Corporate accounts such as reserves maintained in Dell’s regional business
segments The R&O Schedules reflect excess accruals carried over from prior periods and
improperly released in later periods Examples include a $6 million release in Q3FY02 and a $5
million release in Q3FY03.

C. Dell’s Improper Establishment and Use of Restructuring Reserves

95. FASB Emerging Issues Task Force Issue No. 94-3, Liabi`li`zy Recognitionfor
Certain Employee Terminrztion Benefi`ts and Other Costs to Exit an Activily, (including Cerl‘ain
Costs Incurred in a Restructuring) (“EITF 94-3”), and the related interpretations are among the
principal GAAP provisions that relate to accounting and disclosure of certain costs and liabilities
for restructuring activities which include such things as involuntary employee terminations
contract terminations and efforts to consolidate or close facilities These principles allow
companies to_accrue for restructuring expenses to be incurred in future quarters when certain

conditions are met, such as commitment to a formal restructuring plan, notification to affected

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employees and establishment of a probable and reasonable estimate of the anticipated
restructuring costs Further, the principles provide that related restructuring reserves should be
regularly re-evaluated and any amounts no longer needed for the original purpose reversed to
income Retaining excess reserve amounts or using them for purposes other than that for which
they were originally intended is not permitted under G_AAP., Fuitherrnore, costs incurred, but not
specifically contemplated in the original estimate, must be charged to income in the period in
which the expense is incurred

96. In Q2FY02 (ended August 3, 2001), Dell recorded a $482 million charge to income
and established related restructuring liabilities in various reserve accounts ln its Forrn lO-Q for
the quarter ended August 3, 2001, Dell disclosed that it recorded the charge to reduce its workforce
and exit certain activities GAAP required the amount of the charge to be based on Dell’s best
estimates of future qualifying-restructuring costs If Dell subsequently determined that amounts in
the reserves were no longer needed for their originally intended purposes or exceeded what the
company believed would ultimately be needed, GAAP required Dell to release those excess
amounts to the company’s income statement

97. Dell improperly built excess accruals into the reserve at its inception, and from
Q3FY02 to Q3FY04, maintained excess amounts from the restructuring reserve rather than
releasing them to income as required by GAAP. Over at least six quarters during this period, Dell
used this excess to offset the impacts of unrelated period costs resulting in a material
misrepresentation of its OpEx.

98. Dell tracked the excess amounts in the restructuring reserves and employees of
Dell referred to these amounts internally as “cushions” or “available” balances From Q4FY02 to

Q2FY04, Dell’s CAO received status updates at least once every quarter that tracked these

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improper accruals These documents identified amounts that were “re-d_e'signated’7 to 24990 and n
4 other excess amounts still in Dell’s restructuring reserves that did not comply with GAAP.

99. , Schneider knew, or was reckless in not knowing, that the restructuring reserve
included excess accruals In November 2001, Dell’s Corporate Assistant Controller informed
Schneider of excess in the restructuring reserve and Schneider instructed the lCorporate Assistant
Controller and CAO not to take a negative special charge (i.e. reverse excess amounts back to the
income statement as required by GAAP). Schneider received at least one quarterly status update
on the restructuring reserve (in Q4FY02) which set forth the amount “available” in the reserve at n
that point in time.

100. Schneider also knew, or was reckless in not knowing, that excess from the
restructuring reserve was being used to offset unrelated operating expenses On at least one

» occasion, Schneider was informed that excess from the restructuring reserve was being utilized to
cover an operating expense that was unrelated to the reserve _ In May 2003, Dell’s Corporate
Assistant Controller told Schneider that he and the CAO had “held back $lO million of
redesignated special charge reserves” to cover an unrelated to the IRS payment Schneider knew,
or was reckless in not knowing, that that the utilization of excess from the restructuring reserve inn
this manner was not in conformance with GAAP. Nonetheless Schneider signed one or more
management representation letters to PWC in which he certified that Dell’s consolidated financial
statements complied with GAAP.

101. Dell failed to disclose that excess amounts were utilized for non-restructuring
related activities Dell’s annual report on Form 10-K filed with the Commission on May l, 2002

and Dell’s quarterly reports on Forms lO-Q filed with the Commission on September l6, 2002 and

December l6, 2002 also misrepresented restructuring reserve amounts as “paid,’7 When in fact a

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portion of them had been deemed as excess and re-designated to other accounts to be used for
unrelated items In his role as'Chief AccountingOfficer and CFO, Schneider signed Dell’s Form
llO-K filed with the Commission on May l, 2002 and Dell’s Form lO-Q filed with the Commission
on September 16, 2002. Schneider signed the section 302 Sarbanes-Oxley certification for Dell’s '
Form lO~Q filed with'the Commission on December 16, 2002. Schneider approved the filings of
these periodic reports even though he knew, or was reckless in not knowing, that Dell’s accounting
_ for the Q2FY02 restructuring reserve was not in conformance with GAAP. v

D. Accounting Manipulations of Reserves at EMEA

102. lln addition to its improper establishment and use of a Corporate restructuring
reserve in FYOZ, Dell improperly created and released a restructuring reservein its EMEA
segment in FY03 and FY04 in contravention of GAAP.

103. EMEA was an important part of Dell’s business and Dell highlighted EMEA as a
significant component of its operations ln FY03, EMEA generated l9.5% of Dell’s revenues and
13.6% of the company’s operating income ln FY04, EMEA grew to 20.5% of Dell’s revenues
and 18% of the company’s operating income

104. From Q3FY03 through QlFY04,'El\/IEA improperly accrued a $26 million reserve
to offset the anticipated expenses for a future regional “restructuring.” Building the reserve
prematurely caused EMEA to understate its operating income from the Q3FY03 through Ql FY04,
and enabled the region to overstate its operating income by $23.5 million in Q2FY047 when
EMEA released most of the improper reserve

105. ln furtherance of this scheme, Dunning, one of EMEA’s two finance directors
reporting to Schneider at the time, and EMEA’s accounting team reserved for liabilities in a
manner inconsistent with GAAP and misstated EMEA’s books and records After Schneider

refused Dunning’s request to take a special charge to pay for employee termination and relocation

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expenses in EMEA, Dunning participated iri the impropercreation, maintenance, an_d release of t
excess reserves from Q3FY03 to Q3FY04 to offset restructuring expenses The restructuring
reserves which grew to $26 million, had been created to offset expenses incurred in future periods
even though Dell had not formalized or announced its EI\/IEA restructuring plan in a way that

' would have been consistent with GAAP. The restructuring reserves were improperly classified in
Dell’s books as reserves for factory invoices an expense completely unrelated to restructuring

106. In addition to improperly creating a restructuring reserve, EMEA improperly
released accruals from bona fide reserves to boost its operating income iri Q2FY04. Dunning
knew or was reckless in not'knowing that EMEA, with no legitimate justification and contrary to
l GAAP, released $10.8 million from these accounts in large, round~number journal entries on or
about August 6, 2003, the day before EMEA’s books closed Twelve days after recordingthese
entries EMEA reversed them in a $lO.S million entry described only as a “JULY-AC v
Adjustment.” EMEA’s release of the $10.8 million boosted the EMEA segment’s operating
income 8 percent, allowing El\/IEA to report $138 million in Q2FY04 operating income intemally.
After a $7 million topside allocation from Corporate, Dell ultimately reported EMEA’s operating
income as $145 million in its Form lO-Q for the quarter ended August l, 2003.

107. Two quarters later, in Q4FY04,"EMEA created an improper cookie jar reserve By
the end of Q4FY04, Dunning and the EMEA finance team realized that EMEA would, in the
ordinary_course of business significantly exceed its operating income projections for that period
Rather than record all of the excess as income, EMEA’s finance team, with Dunning’s knowledge
transferred $16 million from EMEA’s income statement to various reserve accounts on El\/IEA’s

balance sheet. Dunning gave no direction to remove the improper cookie jar reserve and informed

Schneider of its existence

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108. On or about February 4, 2004, the day before EMEA closed its books for the
quarter, Schneider asked Dunning about EMEA’s reserves inquiring whether the`region had been
“able to keep some cushion.” Dunning replied that EMEA could have recorded`higher operating
income and that_he “put $l 6l\/I away.” Schneider did not direct that the improper reserves be
reversed l ` l

l 109. Creating the $16 million cookie jar reservecaused EMEA to understate its
operating income in*Q4FY04 by 8 percent. fn aislide presented in its February 12, 2004 earnings
call and subsequently posted on its website, Dell disclosed that the EMEA segment had earned
$l92 million in operating income in Q4FY04. j

‘ l 10.- _In the following quarter, the El\/IEA Finance Director who had been co-head of
Finance with Dunning before assuming sole responsibility for EMEA finance, informed Schneider
that EMEA'was having difficulty meeting its $159 million operating income target. Schneider
questioned the Finance Director’s proj ection, telling him that EMEA’s balance sheet was
“probably over accrued,” and instructed “[w]e need $l75m. You need to tell me how We'will get
it. l suggest you not be too proud and see what [D]'unnirig has socked away.” The Finance
Director complied with the request, and released the $16 million that had been put away.

lll. The release of this cookie jar reserve allowed the EMEA segment to report eight
consecutive quarters of increasing operating income In fact7 without the cookie jar reserve,
EMEA’s operating income in QlFYOS would have declined by about 12.5% from the prior quarter,
rather than increased by 3.1%.

112. Schneider made materially false and misleading representations to PWC about

EMEA’s interim financial information for QlFYOS in a management representation letter7 which

he signed

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E. ~Dell’s Cookie Jar Reserves_ in its Bonus and Profit Sharing Accounts

ll3. In addition to using general_reserves to manage its operating results Dell
manipulated its bonus and profit sharing reserve accounts in multiple quarters in FY02 t_o FY03 to
manage its operating results
l ll4. In March 2001 (QlFYOZ), Dell’s `Compensation Committee decided on a
bonus/profit sharing payout for FYOI that was less than the accrual the company had created to
fund the payout. Dell knew that it had over-accrued for the FYOl bonus/profit sharing payout
before it filed its FY01 Form lO-K in May 2001. Contrary to GAAP, Dell bled down the excess
bonus reserves in later periods from Q2FY02 ’through'Ql FY03, to manage Dell’s reported OpEx.
115. In March 2002 (QlFY03), Dell’s Compensation Committee decided on a
bonus/profit sharing payout for FY02 that was again less than what the company had accrued
‘D'ell knew that it had over-accrued for the FY02 payout before it filed its FY02 Form lO-K in May
2002. Again, contrary to GAAP, Dell bled down the excess bonus reserves in later periods from
Q2FY03 through Q3FY03, to manage Dell’s reported OpEx. As it had done iri the prior year, Dell
periodically tracked the releases iri the bonus and profit sharing reserves
v ll6. Schneider knew or was reckless in not knowing thatDell improperly bled down l
excess bonus reserves ln an email exchange with the Vice President of Corporate Planning and
Reporting in Q3FY02 regarding bonus scenarios Schneider stated that one of the scenarios “still
` leaves you with an over accrual from last year.” The Vice President responded “I have assumed
that the prior year overaccrual will be fully bled out by the end of this year. (As discussed this
moming, a lot of these bleeds have been built into the 'Corp Gen budget for Q2 - Q4.)’7 As a CPA
and a former Audit Partner with Price Waterhouse, Schneider knew, or was reckless in not
knowing, that the bleeding down of bonus overaccruals was not in conformance with GAAP.

Nonetheless Schneider signed one or more management representation letters to PWC in which

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he certified that Dell’s consolidated financial statements complied with GAAP. Schneider also
reviewed, approved7 signed and/ or certified the accuracy of Forrns lO~K and lO-Q that materially
misstated Dell’s financial results because of Dell’s improper accounting for the bonus/profit
sharing overaccruals Schneider approved the filings of these periodic reports even though he l
knew, or was reckless in not knowing, that l)ell’s accounting for the bonus overaccruals was not in
conformance with GAAP. d l

F. Dell’s Improper Failure to Increase Reserves for Las Cimas Liabilities

ll7. Dell included a provision in the FY02 restructuring reserve to cover the costs of
closing its Las Cimas facility in Texas. In May 2002 (QlFY03), Dell learned that its previously
established reserve for exiting its Las Cimas facility was under-accrued .Dell did not at that time
quantify the additional reserves needed for Las Cimas and record a corresponding liability, as
GAAP required lt was not until October 2005 (Q3FY06) that Dell increased its reserves for
closing the Las Cimas facility. l

118. By QlFY03, Schneider knew, or was reckless in not knowing, that Las Cimas was
under-accrued A March 6, 2002 (QlFY03) Facilities Steering Committee presentation reflected
that the Committee decided to pursue subleases for Las Cimas at low market rates resultingin
greater costs than originally reserved Schneider was the co-chair of Dell’s Facilities Steering
Committee Despite this understanding, Schneider did not take steps at that time to quantify the
additional reserves needed for Las Cimas as GAAP required

ll9. By QlFY04, Schneider had received an analysis from Dell’s Facilities Group l
quantifying the amount by which Las Cimas was under-accrued ln May 2003, Schneider gave a
presentation to Dell’s Strategy Committee projecting Facilities shortfalls exceeding $60 million

from FY2004 to FY2011. Despite this understanding Schneider did not take steps to record a

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liability for the 1Las Cimas under-accrual required by GAAP. Dell did not reserve for the Las

Cii`nas liability until october 2005.

DELL’S RESTATEMENT

120. On or about August 17, 2006, Dell issued a press release, and filed a Forrn 8-K- with
the Commission_, announcing that its audit committee had begun conducting an independent
investigation into certain of Dell’s accounting and financial reporting practices

121. On or. about August 16, 2007, Dell'filed with the Commission a Forrn S-K'_
announcing that the investigation had been completed, and the results reported to the audit
committee In the August71-6 Form_ S-K, Dell announced that its audit committee had concluded
that Dell’s previously issued financial statements for FY03, FY04, -FYO5, and FY06, including the
interim periods within those years and QlFY07 (“Restatement Period”) “sho`uld no longer be
relied upon.” k

122. In the August 16 Forrn 8~K, Dell also announced that it would restate the previously
issued financial statements for the Restatement Period Under GAAP, a restatement is required if
there is a material error in the financial statements Dell stated that: “The accounting errors and
irregularities that will be corrected are significant because of the combination of the number of ~
issues identified, the qualitative nature of many of the issues and in some cases the dollar
amounts involved”

123. On or about October 30, 2007, Dell filed its Forrn 10-K with the Commission for
the fiscal year ended February 2, 2007. The 2007 Forrn 10-K contained the restated financial l

statements for the Restatement Period

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1_24.- ' The Forrn lO-K, in both the MD&A` and notes to the financial statements -
summarized the findings of the audit committee investigation (“Summary of investigation
Findings”). Dell stated in its 2007 Forrn lO-K:

The investigation raised questions relating to numerous accounting issues most of
Which involved adjustments to various reserve and accrued liability accounts land '
identified evidence that certain adjustments appear to have been motivated by the
objective of attaining financial targets According to the investigation, these
activities typically occurred in the days immediately following the end of a quarter,
when the accounting books were being closed and the results of the quarter were
being compiled The investigation found evidence that, in that timeframe, account
balances were reviewed, sometimes at the request or with the knowledge of senior

. executives with the goal of seeking adjustments so that quarterly performance
objectives could be met. The investigation concluded that a number of these
adjustments were improper, including the creation and release of accruals and
reserves that appear to have been made for the purpose of enhancing internal
performance measures or reported results as well as the transfer of excess accruals
from one liability account to another and the use of the excess balances to offset
unrelated expenses in later periods . . . The investigation identified evidence that
accounting adjustments were viewed at times as an acceptable device to
compensate for` earnings shortfalls that could not be closed through operational
means

125. Dell’s 2007 Forrn lO-K further stated in the Summary of Investigation Findings:
“[I]n a number of instances purposefully incorrect or incomplete information about these
activities was provided to internal or external auditors.” Dell also stated in the Summary that:
“fhe errors and irregularities identified in the course of the investigation revealed deficiencies in
Dell’s accounting and financial control environment, some of which were determined to be
material weaknesses that require.corrective and remedial actions.”

126. Dell’s Forrn lO-K described the “Restatement Adjustments” in the MD&A and
more fully in the notes to the financial statements referred to in the MD&A. Dell reiterated that
the financial statements for the Restatement Period “should no longer be relied upon.” Among the
Restatement Adjustments were “Unsubstantiated Acc_ruals and lnadequately Reconciled

Accounts.” ln its 2007 Forrn lO-K7 Dell stated that

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In some instances accrual and reserve accounts lacked justification or supporting
documentation In~certain cases these accounts were.used to accumulate exeess
amounts from other'reserve'and accrual accounts However, these excess reserves
were not released'to _the. income statement in the appropriate reporting period or
were released for other purposes . . .

127. Dell’s 2007 Forrn lO-K, in ltem 9A, contained “Management’s Repoit on Intemal
Control Over Financial Reporting.” The Report stated that internal control includes among other
things those policies and procedures . which “provide reasonable assurance that transactions are
recorded as necessary to permit preparation of financial statements in accordance with GAAP.”
As stated in the report:. “A material weakness is a deficiency, or a combination of deficiencies in
internal control over financial reporting that there is more than a remote likelihood that a material -
misstatement of the annual or interim financial statements will not be prevented or detected.”

128. The Report concluded that there were material weaknesses in Dell’s internal

control over financial reporting as of February 2, 2007. With respect to the control environment,~

management concluded

We did not maintain a tone and control consciousness that consistently emphasized
strict adherence to GAAP. This control deficiency resulted in an environment in
which accounting adjustments were viewed at times as an acceptable device to
compensate for operational shortfalls which in certain instances led to
inappropriate accounting decisions and entries that appear to have been largely
motivated to achieve desired accounting results and, in some instances involved
management override of controls In a number of instances information critical to
an effective review of transactions and accounting entries was not disclosed to
internal and external auditors '

129. With respect to the period-end financial reporting process management concluded

that there was also a material weakness

We did not maintain effective controls over period-end reporting process including
controls with respect to the review, supervision, and monitoring of accounting
operations Specifically: . . .

We did not design and maintain effective controls to ensure the completeness
accuracy, and timeliness of the recording of accrued liabilities reserves and
operating expenses . . .

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130.` Management concluded that: f‘These material Weaknesses resulted in the
restatement of our annual and interim financial statements for Fisca12003, 2004, 2005, and 2006
and the first quarter of Fiscal 2007. . . .”

131 Dell’s Forrn 10-K contained the Report of lndeperident Registered Pubic
Accounting Firrn7 dated October 29, 2007, by PWC, Dell’s independentaudit`ors. PWC audited
management’s assessment of internal controls included in Management’s Report on Internal
Control PW_C rendered its opinion that “management’ s assessment that the Company did not
maintain effective internal control over financial reporting as of February 2 2007, is fairly stated,
in all material respects . . .” PWC also rendered its opinion that “because of the effects of the
material weaknesses . oni`the achievement of the objectives of the control criteria, the Company

has not maintained effective internal control over financial reporting as of February 2, 2007. . . .”

DELL’S SECURITIES OFFERINGS

132. Dell filed with the SEC registration statements on Forms S-8 on September 207
2001, 0ctober 4, 2002, and December 16, 2003. The Forrns S-S filed in September 2001 and
October 2002 were sigriedby Michael Dell and Schneider. The two Forrns S-8 that Dell filed in
December 2003 were signed by Michael Dell, Schneider, and Dell’s CAO. The Forms S-S
mentioned above each specifically incorporated by reference the Forrn 10-K for the fiscal year
preceding the Forrn S-8 and the Forrns 10-Q for the fiscal year in which the Forrn S-8 was filed
For example, the two Forrns S-8 filed in December 2003 (Q4FY04) incorporated Dell’s FY03
Forrn 10-K_ and Dell’s Forins l0-Q for QlFY04, Q2FY04, and Q3FY04. The Forms S-S also each
incorporate all subsequently filed Forms 10-K and Forms 10-Q “prior to the filing of a

post-effective amendment.” Except for one Forrn S-S filed on September 20, 2001, none of the

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_Foims .S-S mentioned above were subject to the filing of a post-effective amendment during the
period relevant to the allegations set forth above. 7

133. Dell offered and-sold securities continuously from FY2002 through FY2007
through various means. Dell operated an “Employee Stock Ownership Program,” pursuant to l
which it offered and sold common stock to its employees Dell also offered and sold securities to
the public through a “Direct Stock Purchase Program” (DSPP)-. g In addition, Dell granted options

and restricted stock to its employeesv

FIRST CLAIM

Violations of Section 17(a)(1) of the S`ecurities'Act
[15 U.s.C. §77_q(a)]

(Against Dell Inc.)
. 134. Paragraphs 1, 4~18, and 83-133 are realleged and incorporated by reference as if set
forth fully herein. k
- 135. By reason of the conduct alleged above, Dell, in the offer or sale of securities, by
the use of the means or instruments of transportation or communication in interstate commerce or
by use of the mails, directly or indirectly, employed devices, schemes or aitifices to defraud.
136. By reason of the conduct alleged above,* Dell violated Section 17(a)(1) of the
Securities Act [15 U._S.C. § 77q(a)(1)].
SECOND CLAIM

'Violations of Section 10(b) of the Exchange Act [15 U.S.C. §78j(b)] and Rule 10b-5
Promulgated Thereunder [17 C.F.R. §240.10b-5]

(Against Dell Inc.)

137. Paragraphs l, 4-18, and 83-133 are realleged and incorporated by reference as if set

forth fully herein.

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138. By` reason of the conduct alleged above-, Dell, in connection withthe purchase or
sale of securities, by the use of the means or instrumentalities of interstate commerce, or of the
mails,'or of the facilities of a national Securities exchange, directly or indirectly: (a) employed
devices7 schemes or artifices to d'efraud; (b)»made untrue statements of material fact or omitted to
state material facts necessary in order to make the statements made, in light of the circumstances
under which they were made, not misleading; or (c) engaged in acts, practices or courses of
business which operated or would operate as a fraud or deceit upon any person.

139. By reason of the conduct alleged above, Dell violated Section lO(b) of the l
Exchange Act [15 U.S.C. § 7_8j(b)] and Rule 10b_§5 thereunder [17 C...FR § 240.10b-5].

THIRD CLAIM

7 Violations of Section l7(a)(2) and (3) of the Securities Act
[15 U S. C. §77q(a)(2) and (3)]

(Against Dell Inc.§ Michael Dell, Rollins, and Schneider)

140. ' By reason of the conduct alleged in paragraphs 1-133 above, which are realleged
and incorporated by reference as if set forth fully herein, Dell, in the offer or sale of securities, by
the use of the means or instruments of transportation or communication in interstate commerce or
by use of the mails, directly or indirectly, (a) obtained money or property by means of untrue
statements of material fact or omissions to state material facts necessary in order to make the
statements made, in the light of the circumstances under which they were made, not misleading;
and v(b) engaged_in transactions, practices or courses of business which operated lor would operate
as a fraud or deceit upon the purchasers of such securities By reason of the conduct alleged above,
Dell violated Sections 17(a)(2) and (3) of the Securities Act [15 U.S.C. § 77q(a)].

141. By reason of the conduct alleged in paragraphs 1-3, 5-82, and 132-133 above,

Which are realleged and incorporated by reference as if set forth fully herein, Michael Dell, in the '

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offer or sale of securities bythe use of the_means or instruments of transportation or .
communication in interstate commerce or by‘use of the mails directly or indirectly, (a) obtained
money or property by means of untrue statements of material fact or omissions to state material
facts necessary in order to make the statements made, in the light of the circumstances under which
they were made7 not misleading;> and (b) engaged in transactions practices or courses of business
Which operated or would operate as a fraud or deceit upon the purchasers o_f such securities By
reason of the conduct alleged above, Michael Dell violated Sections _17(a)(2) and (3) of the
Securities Act [15 U.S.C. § 77q(a)].

142. By reason of the conduct alleged in paragraphs 1-3, 5'-82, and 132-133 above,
which are realleged and incorporated by reference as if set forth fully herein, Rollins in the offer
or sale of securities by the use of the means or instruments of transportation or communication in
interstate commerce or by use of the mails directly or indirectly, (a) obtained money or property
by means of untrue statements of material fact or omissions to state material facts necessary in
_ order`to make the statements made, in the light of the circumstances under which they were made7
not misleading; and (b) engaged in transactions practices or courses of business which operated or
would operate as a fraud or deceit upon the purchasers of such securities By reason of the conduct
alleged above, Rollins violated Sections l7(a)(2) and (3) of the Securities Act [15 U.S.C. §
77q(a)l-

143. By reason of the conduct alleged in paragraphs 1-133 above, which are realleged
and incorporated by reference as if set forth fully herein, Schneider, in the offer or sale of securities
by the use of the means or instruments of transportation or communication in interstate commerce
or by use of the mails directly or indirectly, (a) obtained money or property by means of untrue

statements of material fact or omissions to state material facts necessary in order to make the

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statements made, in the light of the circumstances under which they were made, notmisleading;
and (b) engaged in transactions practices or courses of business which operated or would operate
4 as a fraud or deceit upon the purchasers of such securities By reason of the conduct alleged above71
Schneider violated Sections l7(a)(2) and (3) of the Securities Act [15 U.S.C. § 77q(a)].
7 » FoURi"H CLAIM
Violations of Sections 13(3), 13(b)(2)(A) and 13(b)(2)(B) of the
Exchange Act [15 U.S.C. §§78m(a), 78m(b)(2)(A) and 78m(b)(2)(B)] and Rules 12b-20, 13a-
1, and 132-13 thereunder [17 C.F.R. §§240.12b-20, 240.133-1, and 240.13'2-13]
(Against Dell Inc.)
144. Paragraphs 1-133 above are realleged and incorporated by reference as if fully set
forth herein-'. d
l 145. By reason of the conduct alleged above, Dell filed with the Commission-materially
false and misleading annual reportson its Forms lO-K, and materially false and misleading d
quarterly reports on its Forrns lO-Q, during its fiscal years ended February 1, 2002, January 31,
2003, January 30,_ 2004, January 28, 2005 and February 3, 2006, and for the fiscal quarter ended
May 5, 2006. l l
146. By reason of the conduct alleged above, Dell failed to make and keep books
records and accounts that, in reasonable detail, accurately and fairly reflected the transactions and
disposition of its assets
` 147. `By reason of the conduct alleged above, Dell failed to devise and maintaina system
of internal accounting controls sufficient to provide reasonable assurances that transactions were
recorded as necessary to permit preparation of financial statements in conformity With generally

accepted accounting principles or any other applicable criteria and to maintain accountability for

assets

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1481 By reason of the conduct alleged above, bell violated Sections l3(a)_, l$(b)(2)(A)v
' and l3(b)(2)(B) of the Exchange Act [15 U.S.C. §§ 78m(a), 78m(b)(2)(A) and 78m(b)(2)(B)] and
Rules 12b-20, 13a-hand l3a-l3'th.ereunder [17 C.F.R. §§ 240.12b-20, 240.13a-l, and
240_.133-13];

- 7 l FIFTH CLArM _ -

Aiding and Abetting Violations of Sections 13(a) of the Exchange Act [15 U.S.C. § 78m(a)]
and Rules 12b-20, 13a-1, and 13a~13 thereunder [17 C.F.R. §§ 240.1`2b-20, 240.13a-1, and
240.13a-13]

(Against Michael Dell, Rollins Schneider, Jackson, and Dunning)

» 149. ' By reason of the conduct alleged in paragraphs 1-3 and 5-82 above, Which are
realleged and incorporated by reference as if set forth fully herein, >Dell violated Sections 13(a) of
the Exchange Act [15 U.S.C. § 78m(a)] and Rules 12b-20, 13a-li and 13a-13 thereunder [17 C.F.R.

l §§ 240,.12b-20, 240.l3a-1, and 240.13a-13]. Michael Dell aided and abetted certain of Dell’s
violations of Section l3(a) of the Exchange Act [15 U.S.C. § 78m(a)] and Rules 12b-20, l3a~1,
and 13a-13 [17 C.F.R. §§ 240,12b-20, 240.l3a-l, and 240.13al3], promulgated thereunder,
pursuant to Section 20(e) of the Exchange Act [15 U.S.C. § 78t(e)].

150.' By reason of the conduct alleged in paragraphs 1-3 and.5-82 above, which are
realleged and incorporated by reference as if set forth fully herein, Dell violated Sections l3(a) of
the Exchange Act [15 U.S.C. § 78m(a)] and Rules 12b-20, 13a~1, and 13a-13 thereunder [17 C.F.R.
§§ 240.12b-20, 240.l3a-1, and 240.13a-13]. Rollins aided and abetted certain of Dell’s violations
of Sections 13(a_) of the Exchange Act [15 U.S.C. § 78m(a)] and Rules l2b-207 l3a-l, and 13a-13
[17 C.F.R. §§ 240.12b-20, 240.l3a-l, and 240.13a-13], promulgated thereunder7 pursuant to
Section 20(e) of the Exchange Act [15 U.S.C. § 78t(e)].

151. By reason of the conduct alleged in paragraphs 1-133 above, which are realleged

and incorporated by reference as if set forth fully herein, Dell violated Sections l3(a) of the

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Exchange Act [15 U.S.C. § 78m(a)] and Rules l2b-20',_l3a-1, and 13a-13 thereunder_[l`7 C.F.R. §§
n 240-.12b'-20, 240.15a~1, and 240.1`3a-l3]. Schneider aided and abetted certain of Dell’s violations
of sections 13(a) nfthe Exchange Act [15 U`.s.C. § 7sm(a)] and_Rui¢S izb-zo, isa-i, and isa-13
[17 C.F.R.` §§ 240.12b-20, 240. 13a-l , and 240.13a~l3>], promulgated thereunder, pursuant to
section 20(e) of the Exchange Act [15 U.s.C. §:78:(¢)]. t

152. B_y reason of the conduct alleged in paragraphs 1, 4-18, and 83~133 above, Which
are realleged and incorporated by reference as if set forth fully hereinz Dell violated Sections 13(a)
of the Exchange Act [15 U.S.C. § 78m(a)] and Rules 12b-20, l3a-1, and 13a-13 thereunder [17
n C..FR §§ 240.12b-20, 240.13a-l,' and 240.13a-13]. Jackson aided and abetted certainof Dell’s
violations of Sections l3(a) of the Exchange Act [15 U.S.C. § 78m(a)] and Rules l2b-20, 13a-l,
and 13a-13 [17 C.F..R. §§ 240.12b-20, 240.l3a-l, and 240.13a-13], promulgated thereunder,
pursuant to Section 20(e) of the Exchange Act [15 U.S.C. § 78t(e)].

153. By reason of the conduct alleged in paragraphs 1, 4-18, and 83-133 above, Which
are realleged and incorporated by reference as if set forth fully herein, Dell violated Sections l3(a)
of the Exchange Act [15 U.S.C. § 78m(a)] and Rules 12b-20, 13a-1, and 13a-13 thereunder [17
C.F.R. §§ 240.12b-20, 240.13a-l, and 240.l3a-13]. Dunning aided and abetted certain of Dell’s
violations of Sections l3(a) of the Exchange Act [15 U.S.C. § 78m(a)] and Rules 12b-20_, 13a-'1,
and 13a-13 [17 C.F.R. §§ 240.12b-20, 240.l3a-1, and 240.13a-l3], promulgated thereunder, d

pursuant to Section 20(e) of the Exchange Act [15 U.S.C. § 78t(e)].

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sIXTH CLAIM

Aiding and Abetting Viol_ations of Sections 13(b)(2)(A) and 13(b).(2)(B) of the Exchange Act
[15 U.S.C. §§ 78m(b)(2)(A) and 78m(b)(2)(B)]

(Against Schneider, Jackson and Dunning)

154. v By reason of the conduct alleged in paragraphs l, 4-18, and 83_`-133 above, Which
are realleged and incorporated by reference as if`set forth fully herein, Dell violated Sections
13(b)(2)(A) and 13(b)(2)(B) of the -Exchange Act [15 U.S.C. §§ 78m(b)(2)(A) and 78m(b)(2)(B)].
Schneider aided and abetted certain of Dell’s violations of Sections l3(b)(2)(A) and ld(b)(Z)(B) of
the Exchange Act [15 U.S.C. §§ 78m(b)(2)_(A) and 78m(b)(2)(B)], pursuant to Section 20(e) of the

Exchange Act [15 U.s.C. § isi(e)]. ` `
155. By reason of the conduct alleged in paragraphs l, 4-18, and 83-133 above, which
dare realleged and incorporated by reference as if set forth fully herein, Dell violated Sections
l3(b)(2)(A) and l3(b)(2)(B) of the Exchange Act [15 U.S.C. §§ 78m(b)(2)(A) and 78m(b)(2)(B)].
Jackson aided and abetted certain of Dell’s violations of Sections 13(b)(2)(A) and l3(b)(2)(B) of
the Exchange Act [15 U.S.C. §§ 78m(b)(2)(A) and 78m(b)(2)(B)], pursuant to Section 20(e) of the
Exchange Act [15 U.S.C. § 78t(e)].

156. By reason of the conduct alleged in paragraphs 1, 4-18, and 83-133 above, Which
are realleged and incorporated by reference as if set forth fully herein, Dell violated Sections
13(b)(2)(A) and 13(b)(2)(B) of the Exchange Act [15 U.S.C. §§ 78m(b)(2)(A) and 78m(b)(2)(B)].
Dunning aided and abetted certain of Dell’s violations of Sections lS(b)(Z)(A) and 13(b)(2)(B) of
the Exchange Act [15 U.S.C. §§78m(b)(2)(A)' and 78m(b)(2)(B)], pursuant to Section 20(e) of the

Exchange Act [15 U.S.C. §78t(e)].

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SEVENTH CLAIM

Violations of Section 13(b)(5) of the
' Exchange Act [15 U.s.C. §78m(b)(5)}

(Against Schneider, Jackson and Dunning) n

157. By reason of the conduct alleged in paragraphs 1, 4-18`,` and 83-133- above, which
are realleged and incorporated by reference as if set forth fully herein, Schneider knowingly
circumvented or knowingly failed to implement a system of internal accounting controls or
knowingly falsified, directly or indirectly7 or caused to be falsified books records and accounts of
l)ell that were subject t`o Section 13(b)(2)(A) of the Exchange Act [15 U.S.C. § 78m(b)(2)(A)]. By
reason of the foregoing, Schneider violated Section 13(b)(5) of the Exchange Act [15 U.S.C. §
78m<b)<5)i. ' '

158. By reason of the conduct alleged in paragraphs l, 4-18, 83-93, and 120-133 above, "
which are realleged and incorporated by reference as if set forth fully herein, Jackson knowingly
circumvented or knowingly failed to implement a system of internal accounting controls or
knowingly falsified, directly or indirectly, or caused to be falsified books records and accounts of
Dell that were subject to Section 13(b)(2)(A) of the Exchange Act [15 U.S.C. § 78m(b)(2)(A)]. By
reason of the foregoing, Jackson violated Section l3(b)(5) of the Exchange Act [15 U.S.C. §
78m(b)(5)].

159. By reason of the conduct alleged in paragraphs 1, 4-18, and 83-133 above, which
are realleged and incorporated by reference as if set forth fully herein, Dunning knowingly
circumvented or knowingly failed to implement a system of internal accounting controls or
knowingly falsified, directly or indirectly, or caused to be falsified books records and accounts of

Dell that Were subject to Section l3(b)(2)(A) of the Exchange Act [15 U.S.C. § 78m(b)(2)(A)]. By

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reason of the foregoing Dunning violated Section 13(b)(5) of the Exchange Act [15 U.S.C. §'

78m(b)(5)] .
EIGHTH CLAIM`-

Violations of RuIe 13a-14 of the Exchange Act [17 C.F.R. §240.13a-14]
_ ('Against Michael l)ell, Rollins and Schneider) `

-160. Michael Dell, as Dell’s principal executive officer,'certified in Dell’s FY03 and
FY04 Forrns 10-K, filed with the Commission on April 28, 2003, and April 12, 2004, and in Dell’s
Forrns lO-Q for Q2FY03, Q3FY03, Q1FY04, Q2FY04, Q3FY04, and QlFYOS, filed with'the
Commission between September 16, 2002 and-June 9, 2004, that, among other things he reviewed
each of these reports and based on his knowledge, these reports: (i) did not contain any untrue
statement of material fact or omit to state a material fact necessary to make the statements made, in
' light of the circumstances under Which they were made, not misleading and (ii) included financial
statements and other information which fairly present, in all material respects Dell’s financial
condition, results of operations and cash flows

161. By reason of the conduct alleged in paragraphs 1-3 and 5-82 above, which are
realleged and reincorporated by reference as if fully set forth herein,- Michael Dell violated
Exchange Act Rule 13a-14 of the Exchange Act, 17 C.F.R. § 240.13a-14.

162. Rollins as Dell’s principal executive officer, certified in Dell’s FY05 and FY06
Forins lO-K, filed with the Commission on March 8, 2005 and March 15, 2006, respectively, and
in D`eii’s anns io_o for QzFYos, Q3FY05, QiFY06, QzFYon, Q3FY06, fried With the
Commission between September 7, 2004 and November 28, 2005, and for QlFY07, filed with the
Commission on June 7, 2006, that, among other things he reviewed each of these reports and
based on his knowledge, these reports (i) did not contain any untrue statement of material fact or

omit to state a material fact necessary to make the statements made, in light of the circumstances

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under Which they 'were made, not misleading and (ii) included financial statements and other
information Which fairly present, in all material respects Dell’s financial condition, results of
operations and cash flows.

163. l By reason of the'conduct alleged in paragraphs 1-3 and 5-82 above, which are
realleged and reincorporated by reference as if fully set forth herein, Rollins violated Exchange
Act Rnie 133-14 Orrhe Exchange Acr, 17 'c.F.R. § 240.133-14. d

164. Schneider, as Dell’s Chief Financial Officer, certified in Dell’s FYOS, FY04, FY05
and FY06 Forms 10-K, filed with the Commission on April 28, 2003, April 12, 2004, March 8,

' 2005-and March 15, 2006, respectively, and in Dell’s Forrns lO_-Q for Q2FY03, Q3FY03, QlFYO4,
Q2FY04-, Q3 FY04, QlFYOS_, Q2FY05, Q3FY05, QlFY06, Q2FY06, Q3FY06, and QlFY07 filed
with the Commission between September 16, 2002 and June 7, 2006, that, among other things he
reviewed each of these reports and based on his knowledge, these reports: (i) did not contain any ’
untrue statement of material fact or omit to state a material fact necessary to make the statements
made, in light of the circumstances under which they were made, not misleading and (ii) included
financial statements and other information which fairly present, in all material respects Dell’s
financial condition, results of operations and cash flows v
`165. By reason of the conduct alleged in paragraphs 1-333 above, which are realleged

and reincorporated by reference as if fully set forth herein, Schneider violated Exchange Act Rule
13a-14 ofthe Exchange Act, 17 C.F.R. § 240-_.13a-14.

NINTH CLAIM

Violations of Rule 13b2-1 promulgated under the Exchange Act [17 C.F.R. §240.13b2-1]
(Against Schneider, Jackson and Dunning)
166. By reason of the conduct alleged in paragraphs l, 4-18, and 83-133 above7 which

are realleged and incorporated by reference as if set forth fully herein, Schiieider, directly or

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indirectly, falsified or caused to be falsified, books records or accounts described in Section
l3(b)(2)(A) of the Exchange Act [15 U. S. C. § 78m(b)(2)(A)]. By reason of the conduct alleged
~ above, Schneider violated Rule l3b2-1, promulgated under the Exchange Act [17 C F. R.
§240.l3b2-1]

167. By reason of the conduct alleged in paragraphs l, 4-18, 83-93, and 120~133 above,
which are realleged and incorporated by reference as if set forth fully herein, Jackson, directly or
indirectly, falsified or caused to be falsified, books records oraccounts described in Section
l3(b)(2)(A) of the Exchange Act [15 U.S.C. § 78m(b)(2)(A)]. By reason of the conduct alleged
above, Jackson violated Rule 13b2-1, promulgated under the Exchange Act [17 C.F.R.
§240.131»2§1]. v

168. By reason of the'conduct alleged in paragraphs l, 4-18, and 83-133 above, which
are realleged and incorporated by reference as if set forth fully herein, Dunning, directly or
indirectly, falsified or caused to be falsified, books records or accounts described iri Section `
isrbj(z)(n) ortho Exchange Aot [15 U.s.C. § 78m(b)(2)(A)]. By reason ortho conduct ~aiiogod
above, Dunning violated Rule 13b2-1, promulgated under the Exchange Act [17 C.F.R.
§240.l3b2-l]. v

TENTH CLAIM
Violations of Rule 13b2-2 promulgated under the Exchange Act [17 C.F.R. §240..13b2-2] l
(Against Schneider and Jackson)

169. By reason of the conduct alleged in paragraphs 1, 4-18, and 83-133 above, which
are realleged and incorporated by reference as if set forth fully herein, Schneider,directly` or
indirectly: (a) made or caused to be made a materially false or misleading statement to an
accountant in connection with; or (b) omitted to state, or caused another person to omit to state,

any material fact necessary in order to make statements made, in light of the circumstance under

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which such statements were made, not misleading,`to an accountant in'connection with: (1) any '
audit,» review or examination of the financial statements of ’Dell required to be made pursuant to
Section l3(b) of the Exchange Act [15 U.S.Ci § 78m(b)]; or (2) the preparation or filing of any
document or report required to be filed with the Commission pursuant to Section 13_(a) of the
Exchange Act [15 U.S.C. § 78m(a)] or otherwise 'By reason of the conduct alleged above,
Schneider violated Rule l3b2-2, promulgated under the Exchange Act [17 C.F.R. § 240,il3b2-2]. f
170. By reason of the-conduct alleged in paragraphs 1, 4-18, 83-93, and 120-133 above,
which are realleged and incorporated by reference as if set forth fully herein, Jackson, directly or
indirectly:v (a) made or caused to be made a materially false or misleading statement to an
accountant in connection.with; or (b) omitted to state, or caused another person to omit to state,
any material fact necessary in order to make statements made, in light of the circumstance under
which such statements-were made, not misleading, to an accountant in connection with: (1) any
audit, review or examination of the financial statements of Dell required to be made pursuant to
Section 13(b) of the Exchange Act [15 U.S.C. § 78m(b)]; or (2) the preparation or filing of any
document or report required to be filed with the Commission pursuant to Section l3(a) of the
Exchange Act [15 U.-S.C. § 78m(a)] or otherwise By-reason of the conduct alleged above,

Jackson violated Rule 13b2-2, promulgated under the Exchange Act [17 C.F.R. § 240.13_b2-2].

PRAYER FOR RELIEF

V\_/'HEREFORE, the Commission respectfully requests that the Court enter a

judgment
I.

Permanently restraining and enjoining:

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(a) defendant Dell, its'officers agents servants employees attorneys assigns
and all those persons inactive concert or participation with them who receive actual notice of the
Final judgment by personal service or otherwise, and each'of them from, directly or indirectly,

l from violating Section l7(a) of the Securities-Act [15 U.S‘.C. § 77q(a)] and Sections lO(b), 13(a),

13(b)(2)(A) and l3(b)_(2)(B) ofthe_Exchange Act [15 U.S.C. §§ 78j(b), 78m(a), 78m(b)(2)(A) and
78m(b)(2)(13)] and Rules 10b-5, 12b-20, l3a-1, and 13a-13 [17 C.F.R. §§ 240.10b-5, 240.12b-20,-
240.13a-1, and 240.13a-13], promulgated »thereunder;

(b) defendant Michael Dell7 his agents servants employees and attorneys and
all persons in active concert or participation with him who receive actual notice of the Final ~
Judgrnent by personal service or otherwise, and each of them from, directly or indirectly, from -
violating Section 17(a)(2) and (3) of the Securities Act [15 U.S.C. § 77q(a)] and Rule 13a-14 of the

Exchange Act [17 C.F.R. § 240.1_3a-l4], and from aiding and abetting violations of Section 13(a)
ofthe Exchange Act [15 U.S.C. §§ 78m(a)] and Rules 12b-20, 13a-17 and 13a-13 [17 C.F.R. §§
240.12b-20, 240.13a-1, 240.13a-13], promulgated thereunder;

(c) defendant Rollins his agents servants employees and attorneys and all __
persons in active concert or participation with him who receive actual notice of the Final Judgment
by personal service or otherwise, and each of them frorn, directly or indirectly, from violating
Section l7(a)(2) and (3) of the Securities Act [15 U.S.C.' § 77q(a)(2) and (3)] and Rule 13a-14 of
the Exchange Act [17 C.F.R. § 240.13a-l4]7 and from aiding and abetting violations of Section
13(3`) ortho Exoiiango Aot [15 U.s.c. §§»7_stn(a)] and Rules izb-zo, iza-i, and 13a-13 [17 c.F.R.
§§ 24().12b-20, 240.l3a-l, 240.l3a-l3], promulgated thereunder;

(d) defendant Schneider, his agents servants employees and attorneys and all

persons in active concert or participation with him Wlio receive actual notice of the Final Judgment

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by personal service or otherwise, and each of them from, directly or indirectly, from violating

`_ Section 17(a)(2) and (3)l of the Securities Act [15 U.S.C. § 77q(a)(2) and (3)], Rule 13a-14 of the
Exchange Act [17 C.F'.R., §_240.13a-14], and Section l3(b)(5) of the Exchange Act [15 U.S.C. § '
78m(b)(5)] and Rules 13b2-1 and 13b2-2 [17 C.F.R. §§ 240.l3b2-l and 240.13b2-2], promulgated
_thereunder, and from aiding and abetting violations of Sections l3(a), l3(b)(2)(A) and l3(b)(2)(B) ` 7
of the Exchange Act [15 U.S.C. §§ 78m(a), 78m(b)(2)(A) and 78m(b)(2)(B)] and Rules 12b-20,
l3a-1, and 13a-13 [17 C.F.R.' §§ 240.12b~20, 240.13a-l, and 240.13a-13], promulgated l
thereunder;

(e) defendant 'Jackson, her agents servants employees and attorneys and all
persons in active concert or participation with her who receive actual notice of the Final Judgrnent
by personal service or otherwise, and each of them from, directly or indirectly, from violating
Section l3(b)(5) of the .Exchange Act [15 U.S.C. § 78m(b)(5)] and Rules l3b2~l and 13b2-2 [17
C.F.R. §§ 240.13b2-1 and 240.13b2-2], promulgated thereunder, and from.aiding and abetting
violations of Sections 13(a), l3(b)(2)(A) and l3(b)(2)(B) of the Exchange Act [15 U.S.C. §§
78m(a)_, 78m(b)(2)(A) and 78m(b)(2)(B)] and Rules 12b-20, l3a-1, and 13a-13 [17 C.F.R. §§
240.12b-20, 240.l3a-l, and 240.l3a-13], promulgated thereunder; t

(f) defendant Dunning, his agents servants employees and attorneys and all
persons in active concert or participation with him who receive actual notice of the Final Judgment
by personal service or otherwise, and each of them from, directly or indirectly, from violating
Section 13(b)(5).of the Exchange Act [15 UrS.C. § 78m(b)(5)] and Rule 13b2-l [17 C.i*`.R. §
240.l3b2-l], promulgated thereunder7 and from aiding and abetting violations of Sections l3(a),

is(b)(z)(A) and isrb)(z)(s) ortho Exchange Aot [15 U.sc. §§ 7sm(a), ism(b)(z)(A) and

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7sni(b)(2')(B)] and Rnies izb-zo§ isa-i, and 13a-i3 [.17 c.F.R. §§ 240.12b-20, 240.13a-i, and
240.'13a-_13]`, promulgated thereunder;
II.
f)rdering defendants Dell,- Michael Dell, Rollins Schneider and Dunning to
d disgorge ill-gotten gains from the conduct alleged herein and to pay prejudgment interest thereon.
III.

Ordering defendants Dell, Michael Dell, Rollins Schneider and Dunning to pay
civil money penalties pursuant to Section ZO(d) of the Securities Act [15 U.S.C. § 77t(d)] and
Section 21(d) of th_e Exchange Act [15 U.S.C. § 78u(d)].

IV.

Retaining jurisdiction of this action to implement and carry outthe terms of all

orders and decrees that may be entered or to entertain any suitable application or motion for .

additional relief within the jurisdiction of this Court.

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V.

Granting such other and further relief as the Court may deem appropriate

Dated: July 22, 2010

Of Counsel:

Christopher Conte
Timothy England
Rami Sibay

James Blenko
S`helby Hunt
Jonathan Jacobs
lan Rupell

Respectfully submitted,

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